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 7
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                 WESTERN DIVISION
11 CAROLE BUTCHER, Derivatively on            )   Case No.
   Behalf of INOGEN, INC.,                    )
12                                            )   VERIFIED STOCKHOLDER
                         Plaintiff,           )   DERIVATIVE COMPLAINT FOR
13                                            )   VIOLATION OF SECURITIES
         v.                                   )   LAW, BREACH OF FIDUCIARY
14                                            )   DUTY, WASTE OF CORPORATE
   SCOTT WILKINSON, ALISON                    )   ASSETS, AND UNJUST
15 BAUERLEIN, BYRON MYERS,                    )   ENRICHMENT
   BRENTON TAYLOR, HEATH                      )
16 LUKATCH, LOREN MCFARLAND,                  )
   BENJAMIN ANDERSON-RAY,                     )
17 HEATHER RIDER, R. SCOTT GREER,             )
   RAYMOND HUGGENBERGER,                      )
18 MATTHEW SCRIBNER, and SCOTT                )
   BEARDSLEY,                                 )
19                                            )
                         Defendants,          )
20                                            )
         -and-                                )
21                                            )
   INOGEN, INC., a Delaware corporation,      )
22                                            )
                  Nominal Defendant.          )
23                                            )   DEMAND FOR JURY TRIAL
24
25
26
27
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 1         Plaintiff, by her attorneys, submits this Verified Stockholder Derivative Complaint
 2 for Violation of Securities Law, Breach of Fiduciary Duty, Waste of Corporate Assets, and
 3 Unjust Enrichment. Plaintiff alleges the following on information and belief, except as to
 4 the allegations specifically pertaining to plaintiff which are based on personal knowledge.
 5 This complaint is also based on the investigation of plaintiff's counsel, which included,
 6 among other things, a review of public filings with the U.S. Securities and Exchange
 7 Commission ("SEC") and a review of news reports, press releases, and other publicly
 8 available sources.
 9                       NATURE AND SUMMARY OF THE ACTION
10                This is a stockholder derivative action brought by plaintiff on behalf of
11 nominal defendant Inogen, Inc. ("Inogen" or the "Company") against certain of its officers
12 and directors for violation of securities law, breach of fiduciary duty waste of corporate
13 assets, unjust enrichment, and violations of law. These wrongs resulted in hundreds of
14 millions of dollars in damages to Inogen's reputation, goodwill, and standing in the
15 business community. Moreover, these actions have exposed Inogen to hundreds of
16 millions of dollars in potential liability for violations of state and federal law.
17                Inogen primarily develops, manufactures, and markets portable oxygen
18 concentrators ("POCs"), which are medical devices used to deliver supplemental long-term
19 oxygen therapy to patients suffering from chronic respiratory conditions. Common chronic
20 respiratory conditions include chronic obstructive pulmonary disease ("COPD"), chronic
21 bronchitis, and emphysema. In most instances, respiratory diseases like COPD develop
22 over a lifetime and, as a result, patients tend to be elderly with access to Medicare
23 insurance.1
24
25
26   1
     Medicare is the federal health insurance program for people who are age sixty-five or
27 older, certain younger people with disabilities, and people with permanent kidney failure.
   Such individuals receive government-funded health care coverage. Long-term oxygen
28 therapy via POCs is an approved Medicare expense.

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 1                 Inogen's reported revenues have grown dramatically since its initial public
 2 offering ("IPO") in 2014. The Company's revenues increased by more than 41% from
 3 fiscal year 2014 to fiscal year 2015, by more than 27% from fiscal year 2015 to fiscal year
 4 2016, and by more than 22% from fiscal year 2016 to fiscal year 2017. Based on its 2016
 5 sales, the Company claimed that it was "the leading worldwide manufacturer of [POCs]."
 6                 Inogen reports its financial results in three business segments: (i) direct-to-
 7 consumer; (ii) domestic business-to-business; and (iii) international. The Company's
 8 direct-to-consumer sales come from domestic purchases directly between Inogen and an
 9 individual patient, whereas its business-to-business sales represent domestic transactions
10 between Inogen and home medical equipment ("HME") providers.2 In 2017, of the $193.9
11 million of revenue derived from the United States,3 approximately 44.7% represented
12 direct-to-consumer sales, 43% represented sales to traditional HME providers, distributors,
13 and resellers, and 12.3% represented direct-to-consumer rentals.
14                 The Company's direct-to-consumer sales results are divided between: (i) cash
15 sales to customers—in which the customer pays the retail price for the POC out-of-pocket;
16 and (ii) rentals—in which the customer rents the device from Inogen, and Inogen bills
17 Medicare or private insurance for a monthly reimbursement. Because Medicare and HME
18 providers seek to control costs of POC rentals, they demand lower prices from Inogen for
19 rentals and sales. Thus, direct-to-consumer sales at retail prices generate higher margins
20 for Inogen. In turn, Inogen is incentivized to focus its efforts on direct-to-consumer cash
21 sales.
22                 Between November 8, 2017 and May 7, 2019, Inogen's officers and directors
23 repeatedly made statements that the total addressable market ("TAM"), the Company's
24
25   2
    HME is a category of devices used for patients whose care is being managed from a home
26 or other private facility managed by a nonprofessional caregiver or family member. It is
   often referred to as durable medical equipment ("DME"), as it can withstand repeated use
27 by nonprofessionals or the patient, and is appropriate for use in the home.
28   3
         Approximately 78% of Inogen's total revenue came from the United States in 2017.
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 1 most important and most consistently used metric, for its products was approximately three
 2 million patients and growing at a rate of 7% to 10% per year. Because the Company
 3 represented that it barely started to scratch the market for its products, claiming only a 7%
 4 to 12% penetration, Inogen portrayed itself as a company with potential for explosive
 5 growth in the POC marketplace. The Company has made the existence of this large and
 6 untapped market for POCs a core selling point to investors. Similarly, due at least in part
 7 to the size of the TAM, Inogen's fiduciaries claimed that if the Company added additional
 8 sales representatives, supposedly an easy task, and increased its marketing expenditures, it
 9 would generate sales at the same rate as its previous infusions of sales and marketing
10 investments.
11                To grow its salesforce, in the third quarter of 2017, Inogen opened its
12 Cleveland, Ohio facility, stating it planned to add "additional headcount of approximately
13 240 people over the next three years primarily in sales and customer service." At the end
14 of 2017, prior to the expected increase in headcount, Inogen had 381 employees in sales,
15 marketing, clinical, and client services. Thus, the expected increase in the additional
16 headcount for the Cleveland facility represented a 63% growth in sales and customer
17 service employees alone, signifying that the Company would be directing its focus almost
18 entirely on sales efforts.
19                Unfortunately, the Company's plan for this facility was to create a high-
20 pressure call center designed to lead susceptible patients into paying a premium retail price
21 out-of-pocket for its POCs, rather than rent a POC using their Medicare or private insurance
22 benefits. For example, according to one research firm that investigated Inogen's sales
23 practices by interviewing the Company's sales representatives, Inogen deceitfully held
24 itself out to customers as the only Medicare approved DME provider of oxygen therapy in
25 certain markets. In other instances, the Company's sales representatives told customers
26 that Medicare did not cover POCs, and that the customers would have to purchase the POCs
27 out-of-pocket, even though long-term oxygen therapy via POCs was an approved Medicare
28 expense. Along with its own abusive sales teams, the Company also partnered with

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 1 resellers who engaged in the same improper practices. As Inogen's direct-to-consumer
 2 sales numbers grew, the Individual Defendants (as defined herein) repeatedly assured
 3 investors and analysts that Inogen's sales growth and strategy was sustainable.
 4               Contrary to the Inogen fiduciaries' improper statements, and unbeknownst to
 5 investors at the time, the defendants: (i) dramatically overstated the size of Inogen's TAM
 6 for patients on long-term oxygen therapy; (ii) misstated the basis for its calculation of the
 7 TAM; (iii) misstated the rate of growth of the TAM; (iv) misstated the POC market
 8 penetration; (v) misleadingly attributed the Company's sales growth to the sales acumen of
 9 its representatives, when, in truth, the growth was due in large part to deceptive sales tactics
10 designed to deceive Inogen's elderly customer base; (vi) misstated the growth opportunity
11 for Inogen's domestic business-to-business sales to HME providers; (vii) misstated that
12 Inogen could abandon the significantly larger Medicare reimbursement rental market and
13 continue to sustain sales growth; and (viii) failed to disclose a material risk that Inogen
14 could lose its Medicare license due to existing fraudulent and abusive sales practices.
15               In addition, on March 27, 2018 and March 26, 2019, certain of the Individual
16 Defendants negligently issued materially false and misleading Proxy Statements urging
17 stockholders to reelect certain directors. In support of the bid to reelect certain directors,
18 the Proxy Statements assured Inogen's stockholders the Board of Directors (the "Board")
19 acted in accordance with the Company's Code of Ethics and Conduct and actively
20 monitored the Company's risk exposure, including risks associated with financial controls
21 and reporting. In reality, the Board utterly failed in its duties by allowing the Company to
22 engage in improper sales tactics to sell its main business product, misrepresent the
23 Company's sales growth and market penetration, and operate with inadequate internal
24 controls. Given that POC sales are Inogen's core revenue generating segment—accounting
25 for approximately 88% of the Company's revenue—the Board knew about Inogen's
26 deceptive sales practices and improper statements about the Company's sales growth.
27 Armed with that knowledge, the Board allowed the misconduct to continue in order to
28

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 1 preserve Inogen's year-on-year revenue growth and maintain its artificially inflated stock
 2 price, exposing the Company to substantial undisclosed risks.
 3               The truth about the Inogen fiduciaries' misconduct and improper statements
 4 began to emerge on November 6, 2018, when the Company released its third quarter of
 5 2018 financial results. Inogen revealed that the growth in its domestic business-to-business
 6 sales to HME providers had slowed significantly from 56% in the second quarter of 2018
 7 to 32% in the third quarter, despite the defendants' previous claims that HME providers'
 8 adoption of POCs was still in its early stages. Furthermore, Inogen reduced its fiscal year
 9 2018 financial guidance for adjusted earnings before interest, taxes, depreciation, and
10 amortization ("EBITDA") from a range of $65-$69 million to $60-$62 million.
11               On this news, Inogen's stock price dropped by more than 19%, or $37.44 per
12 share, to close at $155.86 per share on November 7, 2018, compared to the previous trading
13 day's closing of $193.30 per share, erasing over $805 million of market capitalization.
14               Then, on February 8, 2019, Muddy Waters Research ("Muddy Waters")
15 published a detailed investigative report disclosing, among other things: (i) that Inogen
16 overstated the size of its TAM; (ii) the unreliable basis for the Company's prior TAM
17 claims; (iii) the actual growth rate of the TAM; and (iv) that Inogen overstated the
18 penetration of POCs into the long-term oxygen therapy market. In truth, Muddy Waters
19 confirmed that the market for the Company's POCs was less than half of what the
20 Company told investors.
21               Just four days later, on February 12, 2019, Citron Research ("Citron")
22 published a report revealing the deceptive and "pushy" sales practices engaged by Inogen's
23 reseller network. Citron also revealed that Inogen employed similar tactics designed to
24 deceive its customer base to pay for POCs out-of-pocket instead of applying for insurance
25 reimbursement. Citron cited to large amounts of insider selling, shortcomings in research
26 in development, lack of a promising pipeline, potential pricing pressures, and the fact that
27 the Company's business is concentrated in a single product as reasons to sell the stock.
28

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 1               On February 26, 2019, Inogen issued a press release announcing its fourth
 2 quarter and fiscal year 2018 financial results.        In the press release, the Company
 3 significantly lowered its expected growth rate of the TAM to the "low single digits" from
 4 its earlier estimate of 7% to 10%. The press release revealed that the Company experienced
 5 slower domestic business-to-business sales activity for the quarter. During the earnings
 6 conference call that day, Inogen's President and Chief Executive Officer ("CEO"),
 7 defendant Scott Wilkinson ("Wilkinson"), backtracked on the prior TAM estimate of 2.5
 8 to 3 million patients.     Defendant Wilkinson blamed the Company's poor "domestic
 9 business-to-business sales" on "order activity" that "slow[ed] from one national home care
10 provider in the fourth quarter of 2018."
11               On this news, Inogen's stock price plummeted 24.12%, or $33.78 per share,
12 to close at $106.28 per share on February 27, 2019, compared to the previous trading day's
13 closing of $140.06 per share, a drop of over $736 million more in market capitalization.
14               Finally, on May 7, 2019, the Company issued a press release announcing its
15 first quarter of 2019 financial results. In the press release, the Company reduced its full
16 year 2019 total revenue guidance to a range of $405 million to $415 million, down from
17 the prior year's range of $430 million to $440 million. During Inogen's earnings conference
18 call that day, defendant Wilkinson disclosed that the new sales representatives "took longer
19 to come up the productivity curve than [Inogen's] historical target and were not at their full
20 potential in the first quarter." Defendant Wilkinson added that Inogen planned to "slow
21 down the addition of new sales representatives." In addition, the Company's executives
22 stated that the Company expected "domestic business-to-business sales to have a slightly
23 negative growth rate."
24               In the wake of the May 7, 2019 disclosure, Inogen's stock plunged more than
25 25%, or $23.35 per share on May 8, 2019, to close at $67.79 per share compared to the
26 previous trading day's closing of $91.14 per share, erasing over $512 million more in
27 market capitalization. Today, the Company's stock trades at just over $47.80 per share, an
28 82.6% drop from its high of $282.92 per share, a loss of nearly $5 billion.

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 1                Rather than providing the market with correct information, or correcting
 2 Inogen's fiduciaries misleading statements, certain Company fiduciaries used their
 3 knowledge of material, nonpublic information to benefit themselves. In particular, as
 4 officers and directors of Inogen, they were privy to material, nonpublic information about
 5 the Company's declining business metrics, deceptive sales practices, and financial
 6 prospects. Altogether, the insider selling fiduciaries sold over $71 million of stock since
 7 the misleading statements began in November 2017.
 8                Further, as a direct result of this unlawful course of conduct, Inogen is now
 9 the subject of a federal securities class action lawsuit filed in the U.S. District Court for the
10 Central District of California on behalf of investors who purchased Inogen's shares (the
11 "Securities Class Action").
12                Plaintiff brings this action against the Individual Defendants to repair the harm
13 that they caused with their faithless actions.
14                                JURISDICTION AND VENUE
15                Pursuant to 28 U.S.C. §1331 and section 27 of the Securities Exchange Act of
16 1934 (the "Exchange Act"), this Court has jurisdiction over the claims asserted herein for
17 violations of section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated
18 thereunder. This Court has supplemental jurisdiction over the remaining claims under 28
19 U.S.C. §1367.
20                This Court has jurisdiction over each defendant named herein because each
21 defendant is either a corporation that conducts business in and maintains operations in this
22 District, or is an individual who has sufficient minimum contacts with this District to render
23 the exercise of jurisdiction by the District courts permissible under traditional notions of
24 fair play and substantial justice.
25                Venue is proper in this Court in accordance with 28 U.S.C. §1391 because: (i)
26 Inogen maintains its principal place of business in this District; (ii) one or more of the
27 defendants either resides in or maintains executive offices in this District; (iii) a substantial
28 portion of the transactions and wrongs complained of herein, including the defendants'

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 1 primary participation in the wrongful acts detailed herein, and aiding and abetting and
 2 conspiracy in violation of fiduciary duties owed to Inogen, occurred in this District; and
 3 (iv) defendants have received substantial compensation in this District by doing business
 4 here and engaging in numerous activities that had an effect in this District.
 5                                       THE PARTIES
 6 Plaintiff
 7               Plaintiff Carol Butcher was a stockholder of Inogen at the time of the
 8 wrongdoing complained of, has continuously been a stockholder since that time, and is a
 9 current Inogen stockholder.
10 Nominal Defendant
11               Nominal Defendant Inogen is a Delaware corporation with principal executive
12 offices located at 326 Bollay Drive, Goleta, California. Inogen is a medical technology
13 company that develops, manufactures, and markets POCs used to deliver supplemental
14 long-term oxygen therapy to persons suffering from chronic respiratory conditions. As of
15 December 31, 2018, the Company had 1,099 full and part-time employees worldwide.
16 Defendants
17               Defendant Wilkinson is Inogen's CEO and President and has been since
18 March 2017 and a director and has been since January 2017. Defendant Wilkinson was
19 Inogen's President and Chief Operating Officer from January 2016 to February 2017 and
20 Executive Vice President, Sales and Marketing from 2008 to December 2015. Defendant
21 Wilkinson was Inogen's Vice President, Product Management from 2006 to 2008 and
22 Director of Product Management from 2005 to 2006.         Defendant Wilkinson is named as
23 a defendant in the Securities Class Action complaint that alleges he violated sections 10(b)
24 and 20(a) of the Exchange Act and SEC Rule 10b-5. Defendant Wilkinson knowingly,
25 recklessly, or with gross negligence authorized improper sales tactics that misled customers
26 and made improper statements in the Company's press releases and public filings
27 concerning the Company's: (i) business and financial prospects; and (ii) deceptive sales
28 practices. While in possession of material, nonpublic information concerning Inogen's true

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 1 business health, defendant Wilkinson sold 57,037 shares of his stock for $8,555,054.39 in
 2 proceeds. Inogen paid defendant Wilkinson the following compensation as an executive:
 3
                                                            Non-Equity
 4                                             Stock      Incentive Plan
                      Year         Salary     Awards      Compensation        Total
 5                    2018        $494,458   $1,749,846      $443,034      $2,687,338
                      2017        $402,177   $2,099,949      $346,240      $2,848,366
 6
 7               Defendant Alison Bauerlein ("Bauerlein") is Inogen's Chief Financial Officer
 8 and has been since January 2009, Executive Vice President, Finance and has been since
 9 March 2014 and Corporate Secretary and Corporate Treasurer and has been since 2002.
10 Defendant Bauerlein was Inogen's Controller from March 2008 to January 2009 and 2001
11 to 2004 and Director of Financial Planning and Analysis from 2004 to February 2008.
12 Defendant Bauerlein cofounded Inogen in November 2001. Defendant Bauerlein is named
13 as a defendant in the Securities Class Action complaint that alleges she violated sections
14 10(b) and 20(a) of the Exchange Act and SEC Rule 10b-5.                      Defendant Bauerlein
15 knowingly, recklessly, or with gross negligence authorized improper sales tactics that
16 misled customers and made improper statements in the Company's press releases and
17 public filings concerning the Company's: (i) business and financial prospects; and (ii)
18 deceptive sales practices.        While in possession of material, nonpublic information
19 concerning Inogen's true business health, defendant Bauerlein sold 84,260 shares of her
20 stock for $10,578,748.94 in proceeds. Inogen paid defendant Bauerlein the following
21 compensation as an executive:
22                                                  Non-Equity
                                        Stock     Incentive Plan     All Other
23             Year     Salary         Awards     Compensation     Compensation       Total
               2018    $355,212        $699,853      $181,868         $5,500       $1,242,433
24             2017    $336,251        $647,458      $168,126         $5,400       $1,157,235

25               Defendant Byron Myers ("Myers") is a cofounder of Inogen and has served
26 as its Executive Vice President, Sales and Marketing since January 1, 2017. Defendant
27 Myers previously served as Inogen's Vice President, Marketing from 2011 to 2016. In his
28 current role, defendant Myers leads Inogen's Sales, Marketing, and Product Management

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 1 Operations. Defendant Myers knowingly, recklessly, or with gross negligence authorized
 2 improper sales tactics that misled customers and made improper statements in the
 3 Company's press releases and public filings concerning the Company's: (i) business and
 4 financial prospects; and (ii) deceptive sales practices. While in possession of material,
 5 nonpublic information concerning Inogen's true business health, defendant Myers sold
 6 102,099 shares of his stock for $17,114,934.11 in proceeds. Inogen paid defendant Myers
 7 the following compensation as an executive:
 8
                                                Non-Equity
 9                                  Stock     Incentive Plan     All Other
               Year     Salary     Awards     Compensation     Compensation     Total
10             2018    $309,616    $454,969      $158,523         $5,500      $928,608
               2017    $245,001    $546,878      $122,212         $5,400      $919,491
11
12               Defendant Brenton Taylor ("Taylor") is a cofounder of Inogen and serves as
13 its Executive Vice President, Engineering. Defendant Taylor previously served as Inogen's
14 Director of Technology from 2003 to 2008. Defendant Taylor is listed as an inventor on
15 many of the Company's U.S. patents related to POC development. Defendant Taylor
16 knowingly, recklessly, or with gross negligence authorized improper sales tactics that
17 misled customers and made improper statements in the Company's press releases and
18 public filings concerning the Company's: (i) business and financial prospects; and (ii)
19 deceptive sales practices.     While in possession of material, nonpublic information
20 concerning Inogen's true business health, defendant Taylor sold 50,000 shares of his stock
21 for $8,388,654.81 in proceeds. Inogen paid defendant Taylor the following compensation
22 as an executive:
23                                              Non-Equity
                                    Stock     Incentive Plan     All Other
24             Year     Salary     Awards     Compensation     Compensation     Total
               2018    $310,423    $454,969      $158,937         $5,500      $929,829
25             2017    $297,500    $341,232      $148,750         $5,400      $792,882

26               Defendant Heath Lukatch ("Lukatch") is Inogen's Chairman of the Board and
27 has been since 2008 and a director and has been since 2006. Defendant Lukatch knowingly
28 or recklessly authorized improper sales tactics that misled customers and made improper

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 1 statements in the Company's press releases and public filings concerning the Company's:
 2 (i) business and financial prospects; and (ii) deceptive sales practices. Defendant Lukatch
 3 knew about the improper sales tactics and improper statements because POC sales are the
 4 Company's core operating segment.            While in possession of material, nonpublic
 5 information concerning Inogen's true business health, defendant Lukatch sold 8,000 shares
 6 of his stock for $1,248,309.15 in proceeds. Inogen paid defendant Lukatch the following
 7 compensation as a director:
 8
                       Fiscal
 9                      Year     Fees Paid in Cash   Stock Awards      Total
                       2018          $116,250          $179,988      $296,238
10                     2017           $75,000          $360,618      $435,618

11               Defendant Loren McFarland ("McFarland") is an Inogen director and has been
12 since at least December 2013. Defendant McFarland is a member of the Company's Audit
13 Committee and has been since at least March 2017. Defendant McFarland knowingly or
14 recklessly authorized improper sales tactics that misled customers and made improper
15 statements in the Company's press releases and public filings concerning the Company's:
16 (i) business and financial prospects; and (ii) deceptive sales practices.        Defendant
17 McFarland knew about the improper sales tactics and improper statements because POC
18 sales are the Company's core operating segment.            While in possession of material,
19 nonpublic information concerning Inogen's true business health, defendant McFarland sold
20 8,125 shares of his stock for $1,390,889.26 in proceeds. Inogen paid defendant McFarland
21 the following compensation as a director:
22
                       Fiscal
23                      Year     Fees Paid in Cash   Stock Awards      Total
                       2018           $56,250          $179,988      $236,238
24                     2017           $60,000          $327,850      $387,850

25               Defendant Benjamin Anderson-Ray ("Anderson-Ray") is an Inogen director
26 and has been since at least December 2013. Defendant Anderson-Ray is a member of the
27 Company's Audit Committee and has been since at least March 2017. Defendant
28 Anderson-Ray knowingly or recklessly authorized improper sales tactics that misled

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 1 customers and made improper statements in the Company's press releases and public filings
 2 concerning the Company's: (i) business and financial prospects; and (ii) deceptive sales
 3 practices. Defendant Anderson-Ray knew about the improper sales tactics and improper
 4 statements because POC sales are the Company's core operating segment. While in
 5 possession of material, nonpublic information concerning Inogen's true business health,
 6 defendant Anderson-Ray sold 4,000 shares of his stock for $689,980 in proceeds. Inogen
 7 paid defendant Anderson-Ray the following compensation as a director:
 8                   Fiscal Year    Fees Paid in Cash    Stock Awards     Total
                        2018             $53,250           $179,988     $233,238
 9                      2017             $48,000           $281,030     $329,030

10               Defendant Heather Rider ("Rider") is an Inogen director and has been since
11 August 2014. Defendant Rider knowingly or recklessly authorized improper sales tactics
12 that misled customers and made improper statements in the Company's press releases and
13 public filings concerning the Company's: (i) business and financial prospects; and (ii)
14 deceptive sales practices. Defendant Rider knew about the improper sales tactics and
15 improper statements because POC sales are the Company's core operating segment. While
16 in possession of material, nonpublic information concerning Inogen's true business health,
17 defendant Rider sold 9,722 shares of her stock for $1,696,905.79 in proceeds. Inogen paid
18 defendant Rider the following compensation as a director:
                       Fiscal
19                      Year       Fees Paid in Cash    Stock Awards      Total
20                     2017             $46,000           $281,030      $327,030

21               Defendant R. Scott Greer ("Greer") is an Inogen director and has been since
22 August 2015. Defendant Greer is the Chair of the Company's Audit Committee and has
23 been since at least March 2018 and a member of the Committee and has been since at least
24 March 2017. Defendant Greer knowingly or recklessly authorized improper sales tactics
25 that misled customers and made improper statements in the Company's press releases and
26 public filings concerning the Company's: (i) business and financial prospects; and (ii)
27 deceptive sales practices. Defendant Greer knew about the improper sales tactics and
28 improper statements because POC sales are the Company's core operating segment. Inogen

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 1 paid defendant Greer the following compensation as a director:
 2                     Fiscal
                        Year    Fees Paid in Cash   Stock Awards     Total
 3                     2018          $60,750          $179,988     $240,738
 4                     2017          $48,000          $281,030     $329,030

 5               Defendant Raymond Huggenberger ("Huggenberger") is an Inogen director
 6 and has been since January 2008. Defendant Huggenberger was Inogen's CEO from
 7 January 2008 to March 2017 and President from January 2008 to January 2016. Defendant
 8 Huggenberger knowingly or recklessly authorized improper sales tactics that misled
 9 customers and made improper statements in the Company's press releases and public filings
10 concerning the Company's: (i) business and financial prospects; and (ii) deceptive sales
11 practices. Defendant Huggenberger knew about the improper sales tactics and improper
12 statements because POC sales are the Company's core operating segment. While in
13 possession of material, nonpublic information concerning Inogen's true business health,
14 defendant Huggenberger sold 120,106 shares of his stock for $19,763,206.02 in proceeds.
15 Inogen paid defendant Huggenberger the following compensation as a director:
16
                       Fiscal
17                      Year    Fees Paid in Cash   Stock Awards     Total
                       2018          $43,750          $179,988     $223,738
18
19               Defendant Scott Beardsley ("Beardsley") is an Inogen director and has been
20 since January 2017. Defendant Beardsley knowingly or recklessly authorized improper
21 sales tactics that misled customers and made improper statements in the Company's press
22 releases and public filings concerning the Company's: (i) business and financial prospects;
23 and (ii) deceptive sales practices. Defendant Beardsley knew about the improper sales
24 tactics and improper statements because POC sales are the Company's core operating
25 segment.
26               Defendant Matthew Scribner ("Scribner") served as Inogen's Executive Vice
27 President of Operations from April 2004 to January 2019. Defendant Scribner knowingly,
28 recklessly, or with gross negligence authorized improper sales tactics that misled customers

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 1 and made improper statements in the Company's press releases and public filings
 2 concerning the Company's: (i) business and financial prospects; and (ii) deceptive sales
 3 practices.   Defendant Scribner knew about the improper sales tactics and improper
 4 statements because POC sales are the Company's core operating segment. While in
 5 possession of material, nonpublic information concerning Inogen's true business health,
 6 defendant Scribner sold 17,000 shares of his stock for $2,402,111.82 in proceeds.
 7               The defendants identified in ¶¶27-30, 38 are referred to herein as the "Officer
 8 Defendants." The defendants identified in ¶¶27, 31-37 are referred to herein as the
 9 "Director Defendants." The defendants identified in ¶¶32-33, 35 are referred to herein as
10 the "Audit Committee Defendants." The defendants identified in ¶¶27-34, 36, 38 are
11 referred to herein as the "Insider Selling Defendants."        Collectively, the defendants
12 identified in ¶¶27-38 are referred to herein as the "Individual Defendants."
13                     DUTIES OF THE INDIVIDUAL DEFENDANTS
14 Fiduciary Duties
15               By reason of their positions as officers and directors of the Company, each of
16 the Individual Defendants owed and owe Inogen and its stockholders fiduciary obligations
17 of trust, loyalty, good faith, and due care, and were and are required to use their utmost
18 ability to control and manage Inogen in a fair, just, honest, and equitable manner. The
19 Individual Defendants were and are required to act in furtherance of the best interests of
20 Inogen and not in furtherance of their personal interest or benefit.
21               To discharge their duties, the officers and directors of Inogen were required
22 to exercise reasonable and prudent supervision over the management, policies, practices,
23 and controls of the financial affairs of the Company. By virtue of such duties, the officers
24 and directors of Inogen were required to, among other things:
25               (a)    ensure that the Company complied with its legal obligations and
26 requirements, including acting only within the scope of its legal authority, and
27 disseminating truthful and accurate statements to the investing public;
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 1                (b)   refrain from selling Inogen stock on the basis of nonpublic insider
 2 information;
 3                (c)   conduct the affairs of the Company in an efficient, business-like manner
 4 in compliance with all applicable laws, rules, and regulations so as to make it possible to
 5 provide the highest quality performance of its business, to avoid wasting the Company's
 6 assets, and to maximize the value of the Company's stock;
 7                (d)   properly and accurately guide stockholders and analysts as to the true
 8 business practices, operations, financials, financial prospects, compliance policies, and
 9 internal controls of the Company at any given time, including making accurate statements
10 about the Company's business practices, operations, financials, financial prospects,
11 compliance policies, and internal controls; and
12                (e)   remain informed as to how Inogen conducted its operations, and, upon
13 receipt of notice or information of imprudent or unsound conditions or practices, make
14 reasonable inquiry in connection therewith, and take steps to correct such conditions or
15 practices and make such disclosures as necessary to comply with applicable laws.
16                Inogen holds its fiduciaries to specific corporate governance principals
17 beyond the requirements of law. In particular, in the Company's Corporate Governance
18 Principles as adopted in 2013, Inogen described the duties undertaken by the Board and
19 the active oversight role the Board played in the Company's business affairs. The
20 Corporate Governance Principles state that the "directors are expected to take a proactive
21 approach to their duties and function as active monitors of corporate management.
22 Accordingly, directors provide oversight in the formulation of the long term strategic,
23 financial and organizational goals of the Company and of the plans designed to achieve
24 those goals." Furthermore, the Corporate Governance Principles provide that "[t]he Board
25 understands that effective directors act on an informed basis after thorough inquiry and
26 careful review, appropriate in scope to the magnitude of the matter being considered. The
27 directors know their position requires them to ask probing questions of management and
28 outside advisors.     The directors also rely on the advice, reports and opinions of

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 1 management, counsel and expert advisers."
 2               The Individual Defendants, as officers and directors of Inogen, were also
 3 bound by the Company's Code of Ethics and Conduct (the "Code"). The Code sets out
 4 basic principles to guide all directors, officers, and employees of Inogen, who are required
 5 to know and conduct themselves in accordance with the Code, as well as applicable laws
 6 and regulations, and to avoid the appearance of improper behavior. With respect to the
 7 standards of conduct the Company holds its directors and employees to, the Code states:
 8               Inogen expects all employees and directors to act with the highest
 9        standards of honesty and ethical conduct. Inogen considers honest conduct to
10        be conduct that is free from fraud or deception and is characterized by
11        truthfulness. Inogen considers ethical conduct to be conduct conforming to
12        accepted professional standards of conduct and government regulations and
13        laws. Ethical conduct includes the ethical handling of actual or apparent
14        conflicts of interest between personal and professional relationships, as
15        discussed below.
16               With respect to the Company's corporate books, financial accounting, and
17 public disclosure, the Code requires:
18        FINANCIAL RECORDS AND PUBLIC DISCLOSURE
19               Every Inogen financial record – including sales records, time sheets,
20        expense reports, books and ledgers, and other financial data and records –
21        must be accurately and timely prepared and must be prepared in accordance
22        with all applicable laws, principles, and standards. The integrity of the
23        Company's financial transactions and records is critical to the operation of the
24        Company's business and to maintaining the confidence and trust of the
25        Company's stockholders, customers, suppliers, and employees.
26               General Principles Applicable to Employees
27               Each employee having any responsibility for, or involvement in,
28        financial reporting or accounting must have an appropriate understanding of

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 1        relevant accounting and financial reporting principles, standards, laws, rules,
 2        and regulations as well as Inogen's financial and accounting policies, controls,
 3        and procedures.
 4                                          *     *      *
 5              Public Communications and Reports
 6              Inogen files reports and other documents with the Securities and
 7        Exchange Commission, the NASDAQ Global Market, tax authorities, and
 8        other governmental and regulatory agencies. In addition, from time to time,
 9        Inogen makes other public announcements, such as issuing press releases.
10              Employees involved in the preparation of these reports, documents, or
11        announcements are expected to use all reasonable care and efforts to ensure
12        that Inogen's disclosures are fair, complete, accurate, objective, relevant,
13        timely and understandable. In addition, employees are expected to comply
14        with Inogen's disclosure controls and procedures, which are designed to
15        ensure full, fair, accurate, timely and understandable disclosure in our public
16        reports and communications.
17                                          *     *      *
18        DISCLOSURE
19              The information in Inogen's public communications, including filings
20        with the Securities and Exchange Commission, must be full, fair, accurate,
21        timely, and understandable. All employees and directors are responsible for
22        acting in furtherance of this policy. In particular, each employee and director
23        is responsible for complying with Inogen's disclosure controls and procedures
24        and internal controls for financial reporting. Any questions concerning
25        Inogen's disclosure controls and procedures and internal controls for financial
26        reporting should be directed to Inogen's Chief Financial Officer.
27              The Code also prohibits buying and selling the Company's stock based on
28 insider information:

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 1         INSIDER TRADING
 2               The purpose of Inogen's insider trading policy is to establish guidelines
 3         to ensure that all employees and directors comply with laws prohibiting
 4         insider trading. No employee or director in possession of material, non-public
 5         information may trade Inogen's securities (or advise others to trade) from the
 6         time they obtain such information until after adequate public disclosure of the
 7         information has been made. Employees and directors who knowingly trade
 8         Inogen securities while in possession of material, non-public information or
 9         who tip information to others may be subject to appropriate disciplinary
10         and/or enforcement action, which may include termination of employment,
11         consistent with applicable laws. Insider trading is also a crime.
12               Employees and directors also may not trade in stocks of other
13         companies about which they learn material, non-public information through
14         the course of their employment or service with Inogen.
15 Breaches of Duties
16               The conduct of the Individual Defendants complained of herein involves a
17 knowing and culpable violation of their obligations as officers and directors of Inogen, the
18 absence of good faith on their part, and a reckless disregard for their duties to the Company
19 that the Individual Defendants were aware or reckless in not being aware posed a risk of
20 serious injury to the Company.
21               The Individual Defendants breached their duty of loyalty and good faith by
22 allowing defendants to cause, or by themselves causing, the Company to engage in making
23 improper statements to the public, improper practices that wasted the Company's assets,
24 and caused Inogen to incur substantial damage.
25               The Individual Defendants, because of their positions of control and authority
26 as officers and/or directors of Inogen, were able to and did, directly or indirectly, exercise
27 control over the wrongful acts complained of herein. The Individual Defendants also failed
28 to prevent the other Individual Defendants from taking such illegal actions. As a result,

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 1 and in addition to the damage the Company has already incurred, Inogen has expended,
 2 and will continue to expend, significant sums of money.
 3 Additional Duties of the Audit Committee Defendants
 4               In addition to these duties, under the Audit Committee Charter, the Audit
 5 Committee Defendants, defendants Anderson-Ray, Greer, and McFarland, owed specific
 6 duties to Inogen. According to the Audit Committee Charter, among other things, the Audit
 7 Committee is responsible for assisting the Board in overseeing the integrity of the
 8 Company's financial statements and the Company's compliance with legal and regulatory
 9 requirements. In particular, the Audit Committee is required to:
10              provide oversight of all material aspects of the Company's accounting
11               and financial reporting processes and the audit of the Company's
12               financial statements;
13              assist the Board in monitoring (i) the integrity of the Company's
14               financial statements, (ii) the Company's internal accounting and
15               financial controls, (iii) the Company's compliance with legal and
16               regulatory requirements, (iv) the organization and performance of the
17               Company's internal audit function, and (v) the independent auditor's
18               qualifications, independence, and performance;
19              provide the Board with the results of the Audit Committee's monitoring
20               and recommendations derived therefrom;
21              provide to the Board such information and materials as it may deem
22               necessary to make the Board aware of significant financial matters that
23               require the attention of the Board; and
24              prepare the report that the rules of the Securities and Exchange
25               Commission (the "SEC") require be included in the Company's annual
26               proxy statement.
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 1       CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

 2               In committing the wrongful acts alleged herein, the Individual Defendants
 3 have pursued, or joined in the pursuit of, a common course of conduct, and have acted in
 4 concert with and conspired with one another in furtherance of their common plan or design.
 5 In addition to the wrongful conduct herein alleged as giving rise to primary liability, the
 6 Individual Defendants further aided and abetted or assisted each other in breaching their
 7 respective duties.
 8               During all times relevant hereto, the Individual Defendants, collectively and
 9 individually, initiated a course of conduct that was designed to and did: (i) deceive the
10 investing public, including stockholders of Inogen, regarding the Individual Defendants'
11 management of Inogen's operations and the Company's sales and marketing practices; (ii)
12 facilitate the Insider Selling Defendant's illicit sale of over $71 million of their personally
13 held shares while in possession of material, nonpublic information; and (iii) enhance the
14 Individual Defendants' executive and directorial positions at Inogen and the profits, power,
15 and prestige that the Individual Defendants enjoyed as a result of holding these positions.
16 In furtherance of this plan, conspiracy, and course of conduct, the Individual Defendants,
17 collectively and individually, took the actions set forth herein.
18               The Individual Defendants engaged in a conspiracy, common enterprise, or
19 common course of conduct. During this time, the Individual Defendants caused the
20 Company to issue improper financial statements.
21               The purpose and effect of the Individual Defendants' conspiracy, common
22 enterprise, or common course of conduct was, among other things, to disguise the
23 Individual Defendants' violations of securities law, breaches of fiduciary duty, waste of
24 corporate assets, and unjust enrichment; and to conceal adverse information concerning the
25 Company's operations, financial condition, and future business prospects.
26               The Individual Defendants accomplished their conspiracy, common
27 enterprise, or common course of conduct by causing the Company to purposefully or
28 recklessly release improper statements. Because the actions described herein occurred

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 1 under the authority of the Board, each of the Individual Defendants was a direct, necessary,
 2 and substantial participant in the conspiracy, common enterprise, or common course of
 3 conduct complained of herein.
 4               Each of the Individual Defendants aided and abetted and rendered substantial
 5 assistance in the wrongs complained of herein. In taking such actions to substantially assist
 6 the commission of the wrongdoing complained of herein, each Individual Defendant acted
 7 with knowledge of the primary wrongdoing, substantially assisted in the accomplishment
 8 of that wrongdoing, and was aware of his or her overall contribution to and furtherance of
 9 the wrongdoing.
10                                FACTUAL BACKGROUND
11 Overview of the Company's Products
12               Inogen is a medical device company that primarily develops, manufactures,
13 and markets POCs used to deliver supplemental long-term oxygen therapy to patients
14 suffering from chronic respiratory conditions.
15               Traditionally, patients suffering from chronic respiratory conditions have
16 relied on stationary oxygen concentrator systems for use in the home, and oxygen tanks or
17 cylinders for mobile use. The tanks and cylinders must be delivered regularly and have a
18 finite amount of oxygen. Additionally, patients must attach long, cumbersome tubing to
19 their stationary concentrators to enable mobility within their homes. POCs, on the other
20 hand, including the Company's proprietary Inogen One® systems, pull oxygen directly
21 from the atmosphere into a portable device weighing as little as 2.8 pounds. This system
22 reduces the patient's reliance on stationary concentrators and finite oxygen supply and
23 fosters mobility.
24               In most instances, chronic respiratory diseases develop over a lifetime and, as
25 a result, patients tend to be elderly with access to Medicare insurance. Medicare is the
26 federal health insurance program for people who are age sixty-five or older, certain
27 younger people with disabilities, and people with permanent kidney failure.            Such
28 individuals receive government-funded health care coverage. Long-term oxygen therapy

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 1 via POCs, like Inogen's products, is an approved Medicare expense.
 2               Inogen is an accredited Medicare DME/HME provider and is licensed to sell
 3 directly to Medicare customers in all fifty states and the District of Columbia. As stated in
 4 Inogen's 2017 and 2018 Annual Reports, these licenses are critical to Inogen because the
 5 penalties associated with failing to comply with Medicare regulations would have a
 6 materially adverse effect on Inogen's business. For example, if the Centers for Medicare
 7 and Medicaid Services ("CMS"), the federal agency that administers the Medicare and
 8 Medicaid programs, determine that the Company's sales practices were unlawful, the CMS
 9 could revoke the Company's Medicare accreditation.
10 The Market for Inogen's Products
11               Inogen's reported revenues have grown dramatically since its IPO in 2014.
12 The Company's revenues increased by more than 41% from fiscal year 2014 to fiscal year
13 2015, by more than 27% from fiscal year 2015 to fiscal year 2016, and by more than 22%
14 from fiscal year 2016 to fiscal year 2017. Based on its 2016 sales, the Company claimed
15 that it was "the leading worldwide manufacturer of [POCs]."
16               Inogen's fiduciaries disclose to the public TAM as a metric to understanding
17 the sustainability of its rapid growth. TAM represents the number of potential customers
18 for a given market. In Inogen's case, TAM represents the number of people with respiratory
19 illness that could benefit from using a POC. To measure its TAM, defendants claimed to
20 rely on information contained in annual Medicare data, data from the Kaiser Family
21 Foundation for Medicare Advantage, and a report issued in 2017 by the market research
22 firm WinterGreen Research, Inc. Using this information, the Company claimed its TAM
23 to be three million people on long-term oxygen therapy growing at a rate of 7% to 10%
24 annually. In addition, Inogen utilizes the market penetration of POCs replacing traditional
25 oxygen therapy to inform investors of market saturation. Lower market penetration means
26 there is more room for sales growth.
27               Inogen reports its financial results in three business segments: (i) direct-to-
28 consumer; (ii) domestic business-to-business; and (iii) international. Inogen's direct-to-

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 1 consumer sales are generally from domestic purchases directly between Inogen and an
 2 individual patient, whereas its business-to-business sales represent domestic transactions
 3 between Inogen and HME providers. Direct-to-consumer and domestic business-to-
 4 business sales account for the majority of Inogen's revenue. In 2017, of the $193.9 million
 5 of revenue derived from the United States, approximately 44.7% represented cash-pay
 6 sales to consumers, 43% represented sales to traditional HME providers, distributors, and
 7 resellers, and 12.3% represented direct-to-consumer rentals.
 8               According to Inogen, the "Company believes it is the only manufacturer of
 9 [POCs] that employs a direct-to-consumer strategy in the United States, meaning the
10 Company markets its products to patients, processes their physician paperwork, provides
11 clinical support as needed and bills Medicare or insurance on their behalf." The Company
12 divides its direct-to-consumer sales results between: (i) cash sales to customers—where the
13 customer pays the retail for the POC out-of-pocket—and (ii) rentals—where the customer
14 rents the device from Inogen and Inogen bills Medicare or private insurance for a monthly
15 reimbursement. Inogen sets the retail price for its POCs at approximately $2,400, or $70
16 per month, for a rental. Medicare, on the other hand, sets the monthly reimbursement rate,
17 and aggressively sets the reimbursement rates to control costs. For example, in 2016,
18 Medicare reimbursed the cost of a POC rental at a range of $46.69 to $49.52 a month, but
19 dropped the rate to $36.14 to $41.91 per month in 2017.
20               POC rentals are generally for a term of five years. Medicare pays for thirty-
21 six months of oxygen treatment, at which point reimbursements are "capped" and
22 unreimbursed for the next twenty-four months of treatment. This means that the patient
23 pays no rental fees during this period, but the supplier retains ownership of the equipment.
24 Thus, providing a new device to Medicare patients to rent is not cost effective when the
25 patient has already exhausted many of the thirty-six available monthly payments. This
26 effectively eliminates patients who have received a substantial number of their thirty-six
27 months of reimbursement from the rental market for at least, if not longer, than the two
28 capped years.

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 1               The Company's domestic business-to-business segment involves sales of
 2 POCs to HME providers who then sell or rent the POCs to patients. Business-to-business
 3 sales are divided between: (i) sales to Inogen's own private label HME; and (ii) sales to
 4 other competing HMEs. HMEs typically buy the POCs from Inogen at negotiated rates
 5 below retail price and rent or sell the units to their customers. Inogen's business-to-business
 6 sales compete with its direct-to-consumer sales for the same customers.
 7                INOGEN ENGAGES IN DECEPTIVE SALES TACTICS
 8               Due to Medicare and HME providers demanding lower prices from Inogen,
 9 direct-to-consumer sales at retail prices generate higher margins for Inogen. These higher
10 margins, as a result, incentivized the defendants to focus on the Company's sales and
11 marketing efforts to push direct-to-consumer purchases. In fact, throughout the relevant
12 time period, the Company extended significant resources and shifted its focus to a direct-
13 to-consumer marketing campaign. The Company increased sales and marketing expenses
14 by 35% from 2016 to 2017—in contrast to an increase of just 3.9% on research and
15 development—to primarily support its direct-to-consumer strategy. In the third quarter of
16 2017, the Company opened a new facility in Cleveland, Ohio, where it expected to hire
17 approximately 240 sales representatives over the next three years. According to the Citron
18 report, the Company hired these sales representatives to staff a high-pressure call center at
19 the Cleveland facility for the purpose of convincing susceptible patients to pay out-of-
20 pocket for Inogen's POCs.
21               The Citron report revealed that Inogen, along with its reseller distribution
22 network, committed "elder abuse to sell [POCs] for the highest price without proper
23 disclosure of benefits to seniors at the most vulnerable time of their life." The report
24 highlighted that less than 10% of Inogen's sales come from Medicare, despite the average
25 age of the Company's customers being seventy-five and over. According to Citron, Inogen
26 created a toxic boiler-room sales environment, employing disreputable sales tactics to
27 deceive its impressionable elderly customer base into buying POCs out-of-pocket, in
28 violation of Medicare policy. These tactics included inducing customers to purchase POCs

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 1 from Inogen at inflated prices by claiming that Medicare did not otherwise cover payment
 2 for such devices if obtained from other providers.
 3              Inogen's manipulative scheme to prey on the sick and elderly was publicly
 4 exposed online by former employees and customers. For example, the Citron report
 5 highlighted several accounts from former employees and customers who posted online
 6 about the Company's abusive scheme. In particular, the Citron report provided:
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 1               In fact, defendant Wilkinson commented during an earnings conference call
 2 on April 30, 2018, about the boiler-room sales environment that Inogen created for its sales
 3 representatives. In particular, he stated:
 4               So an existing rep in any given month they may work X number of
 5         leads that are already in their bucket and then Y number of new leads. Brand
 6         new reps to come on board, it's all new leads, you have to load them up and
 7         the spend tends to be a little higher to feed them until they get the steady state.
 8                                       *      *      *
 9               So as we hire more reps, you've got to have more leads or else you
10         choke the reps off and starve them.
11               In addition to its abusive direct-to-consumer sales practices, according to
12 Citron, Inogen and its reseller network worked together to dominate Google listings, post
13 fake reviews about the Company online, and employ similar nefarious tactics to deceive
14 elderly customers. The resellers, like Inogen's in-house sales team, induced customers to
15 purchase POCs from Inogen at inflated prices by claiming that Medicare did not otherwise
16 cover payment for such devices if obtained from other providers.
17               Furthermore, Citron revealed that Inogen's top reseller, 1st Class Medical, was
18 "secretly controlled by a convicted felon who was recently released after 5 years in federal
19 prison" after being sentenced for deceptive marketing practices. These practices included
20 posting fake reviews online—the same deceptive marketing practices that Citron claimed
21 Inogen's resellers engaged in. The Citron report went on to explain how the resellers' sales
22 numbers had artificially increased Inogen's business-to-business sales, increases that Citron
23 claimed were not sustainable on a long-term basis. Based on its analysis of Inogen's
24 financial reports and the firm's own research, Citron placed a target of just $46 per share
25 on Inogen common stock.
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 1   INOGEN'S FIDUCIARIES MADE IMPROPER STATEMENTS CONCERNING
      THE COMPANY'S TAM, MARKET PENETRATION, AND SALES GROWTH
 2
 3 Inogen Misrepresents the Size and Growth Rate of Its TAM
 4               Throughout    the   relevant    time    period,   the   Individual   Defendants
 5 misrepresented the size of the Company's TAM by improperly overstating annual Medicare
 6 data.   Inogen relied on the data's number of current oxygen therapy patients, but
 7 inaccurately assumed that each individual patient listed in the Medicare data used a
 8 separate device when, in reality, multiple patients used the same device during a given year
 9 (e.g., if a patient died, given the POC's seven-to-eight year service life, the same POC
10 would be repurposed for another patient, which Medicare considered a second patient in
11 its records). Thus, the Company effectively double-counted patients in instances where
12 only one POC would be used for multiple patients during that year.
13               In addition, the Individual Defendants inaccurately claimed that the World
14 Health Organization ("WHO") expected COPD to become the leading cause of death
15 globally within the next fifteen years, presenting an "[a]ttractive global market
16 opportunity" for Inogen. However, when Muddy Waters asked the WHO about the
17 Company's claim, the WHO stated that Inogen's assertion was "most likely a mistake."
18 Similarly, the Individual Defendants claimed that there are approximately fifteen million
19 additional undiagnosed COPD patients—presenting a larger TAM—from the
20 approximately fifteen million Americans currently diagnosed with COPD. The Company
21 based this figure on an outdated 1988-1994 survey by the Centers for Disease Control and
22 Prevention ("CDC"). As Muddy Waters explained in its report, Inogen's inference of an
23 additional fifteen million undiagnosed COPD patients was "greatly misleading" because
24 the CDC survey merely "concluded that approximately 50% of COPD patients were
25 unaware they had COPD prior to diagnosis." The CDC data, as Muddy Waters stated,
26 "does not mean that for every one diagnosed sufferer in the U.S., there is another one who
27 has not been diagnosed."
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 1               Furthermore, contrary to what the Individual Defendants represented, not all
 2 patients on long-term oxygen therapy are potential customers because POCs are
 3 inappropriate devices for nonambulatory patients,4 or for those patients who require the
 4 continuous flow of oxygen rather than the pulse flow provided by a POC.
 5               With respect to the growth rate of the TAM, the Individual Defendants made
 6 improper statements by claiming the data indicated positive annual growth rates. In truth,
 7 the Medicare data and the Kaiser Family Foundation data for Medicare Advantage relied
 8 upon by the Individual Defendants reported negative annual growth rates.
 9 Inogen Misrepresents the Market Penetration of Its POCs
10               Throughout the relevant time period, the Individual Defendants also made
11 improper statements concerning the low market penetration of POCs and the Company's
12 ability to become the leading POC manufacturer responsible for achieving 90% penetration
13 of POCs for ambulatory patients. The industry consensus is that POCs are inappropriate
14 for up to 50% of ambulatory patients, such as those who only need oxygen therapy for
15 sleep. Such ambulatory patients are thus highly unlikely to obtain a POC, cutting Inogen's
16 estimated market penetration by up to half. Furthermore, some patients with more
17 advanced respiratory diseases require a stronger continuous oxygen stream than Inogen's
18 pulse stream POCs can provide.
19               In addition, the defendants' conscious decision to abandon the rental market
20 and shift to direct-to-consumer sales would leave Inogen unable to service the larger and
21 more stable Medicare and insurance rental reimbursement market. Even considering the
22 more stable rental market, however, POC rentals became heavily constrained by low
23 Medicare reimbursement schedules, which had dropped from a range of $46.69 to $49.52
24 per month in 2016, down to $36.14 to $41.91 per month in 2017, rendering Inogen's POC
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     4
26   Ambulatory patients are patients that are unable to walk unassisted after surgery or
   medical treatment. Ambulatory care, or outpatient care, is medical care provided on an
27 outpatient basis, including diagnosis, observation, consultation, treatment, intervention,
   and rehabilitation services. This care can include advanced medical technology and
28 procedures even when provided outside of hospitals.

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 1 rentals increasingly less profitable, or, in the alternative, less desirable for patients to rent
 2 on a partial cost reimbursement basis. Because Medicare capped reimbursement after three
 3 years into the five-year rental term, Inogen could only profitably rent to patients early into
 4 the reimbursement period, effectively eliminating as potential customers far more than just
 5 the 18% of patients in years four and five of their rentals.
 6 Inogen Misrepresents Its Ability to Sustain the Growth of Its POC Cash Sales
 7                Throughout the relevant time period, the Individual Defendants made
 8 improper statements concerning the Company's ability to achieve easy and sustainable
 9 growth of POC cash sales. In truth, Inogen faced several problems that would limit its
10 purported sustainable growth. First, the POC cash sales market was limited to patients who
11 had thousands of dollars on hand to purchase the POCs, and could not wait for Medicare
12 or private insurance to process their claim. Even with this limited market, the Company's
13 out-of-pocket cash sales growth was skewed by the toxic boiler-room sales environment
14 employed by Inogen to deceive its elderly customer base, as described herein. Further,
15 these deceptive sales practices presented a material risk that Inogen's ability to continue to
16 entice POC patients to pay out-of-pocket would be substantially constrained by CMS
17 revoking Inogen's Medicare accreditation for deceiving patients. Finally, as the Individual
18 Defendants later revealed, Inogen's newly-hired sales representatives in 2018 were not of
19 the same quality as the earlier hires because the Company had virtually exhausted the
20 applicant pool. Based on the foregoing, Inogen's purported growth in POC cash sales was
21 unsustainable.
22 Inogen Misrepresents Its Ability to Grow Its Business-To-Business Sales of POCs to
   HMEs
23
24            Throughout the relevant time period, the Individual Defendants made
25 improper statements concerning the Company's ability to grow its business-to-business
26 sales of POCs to HMEs. Contrary to their claims, and as described herein, Inogen's HME
27 partners employed the same deceptive sales tactics as the Company's in-house sales team,
28 severely limiting future sales growth. HMEs also were facing a number of issues

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 1 concerning the pricing of POCs and limited sales potential of POCs. These included price
 2 constraints from their customers and insurance reimbursement schedules, multiple would-
 3 be direct-to-consumer customers over the lifespan of a single POC, and more POC
 4 purchases than they could reasonably deploy. In addition, Inogen's business-to-business
 5 sales competed with its direct-to-consumer sales for the same customers, indicating
 6 unsustainable growth for the Company given that its sales divisions were cannibalizing
 7 business from each other.
 8                             THE IMPROPER STATEMENTS
 9               Beginning in November 2017, the Individual Defendants breached their
10 fiduciary duties by repeatedly making improper statements in the Company's SEC filings,
11 press releases, and public communications concerning Inogen's business, financial
12 prospects, and financial condition. Specifically, the Individual Defendants repeatedly
13 made improper statements and failed to disclose to Inogen's investors and the broader
14 market that: (i) Inogen overstated the true size of the TAM for POCs; (ii) Inogen
15 misrepresented the basis for its calculation of the TAM; (iii) Inogen misrepresented the
16 market penetration for POCs; (iv) Inogen falsely attributed its sales growth to the strong
17 sales acumen of its salesforce, when in reality its growth was due in large part to deceptive
18 sales tactics designed to deceive its elderly customer base; (v) as such, Inogen's projected
19 growth in its domestic business-to-business sales to HME providers was inflated and
20 unsustainable; (vi) only a small fraction of Inogen's business came from the more stable
21 Medicare market; and (vii) as a result, Inogen's public statements were materially false and
22 misleading at all relevant times.
23 The Improper Statements in the November 7, 2017 Press Release
24               On November 7, 2017, Inogen issued a press release announcing its third
25 quarter of 2017 financial results for the period ended September 30, 2017, and provided
26 financial guidance for the remainder of fiscal year 2017 and fiscal year 2018. In the press
27 release, the Company announced "[r]ecord" third quarter of 2017 financial results, with
28 total revenue of $69 million, up 26.8% over the same period in 2016, net income of $7.3

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 1 million, up 39.9% over the same period in 2016. In particular, the press release stated:
 2        Third Quarter 2017 Highlights
 3           Record total revenue of $69.0 million, up 26.8% over the same period in
 4            2016
 5                    Sales revenue of $63.1 million, up 33.8% over the same period
 6                     in 2016
 7                    Rental revenue of $5.9 million, down 18.7% from the same
 8                     period in 2016
 9           Net income of $7.3 million, reflecting a 39.9% increase over the same
10            period in 2016 and a 10.6% return on revenue
11           Adjusted EBITDA of $14.1 million, representing 30.6% growth over the
12            same period in 2016 and a 20.4% return on revenue (see accompanying
13            table for reconciliation of GAAP and non-GAAP measures)
14           Total units sold were 36,000, an increase of 9,400, or 35.3%, over the same
15            period in 2016, reflecting the strong consumer demand for the Company's
16            products across all sales channels
17
                                            *      *     *
18
19        Third Quarter 2017 Financial Results
20               Total revenue for the three months ended September 30, 2017 rose
21        26.8% to $69.0 million from $54.4 million in the same period in 2016. Direct-
22        to-consumer sales rose 43.5% over the same period in 2016, ahead of our
23        expectations primarily due to an increased number of sales representatives and
24        increased productivity. Domestic business-to-business sales exceeded our
25        expectations and grew 41.7% over the same period in 2016, primarily driven
26        by continued strong demand from traditional home medical equipment
27        providers and our private label partner. International business-to-business
28        sales in the third quarter of 2017 grew 14.9% over the comparative period in

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 1         2016, primarily due to demand from our partners in Europe. Rental revenue
 2         decreased 18.7% from the same period in 2016, primarily due to the declines
 3         in rental reimbursement rates and our strategic focus on sales versus rentals.
 4         Rental revenue declined to 8.5% of total revenue in the third quarter of 2017
 5         from 13.3% of total revenue in the third quarter of 2016.
 6               Total gross margin was 48.1% in the third quarter of 2017 versus 46.2%
 7         in the comparative period in 2016. Sales gross margin was 50.3% in the third
 8         quarter of 2017 versus 48.6% in the third quarter of 2016. The sales gross
 9         margin percentage improvement was primarily attributable to an increased
10         sales mix towards direct-to-consumer sales and lower cost of goods sold per
11         unit, mostly due to lower materials costs, partially offset by declining
12         business-to-business average selling prices. Rental gross margin was 24.3%
13         in the third quarter of 2017 versus 30.7% in the third quarter of 2016. The
14         decrease in rental gross margin was primarily driven by reimbursement rate
15         reductions and partially offset by lower cost of rental revenue primarily
16         associated with lower depreciation.
17               Inogen also raised its guidance range for fiscal year 2017 and provided
18 guidance for the full year of 2018. In particular, the press release stated:
19         Financial Outlook for 2017 and 2018
20               Inogen is increasing its guidance range for full year 2017 revenue to
21         $244 to $248 million, which represents year-over-year growth of 20.3% to
22         22.3%, and compares to previous guidance of $239 to $243 million. The
23         Company expects direct-to-consumer sales and domestic business-to-business
24         sales to be our strongest growing channels and to have similar growth rates,
25         and international business-to-business sales to have a more modest growth
26         rate where the market penetration strategy is expected to be primarily focused
27         on the European markets. Inogen expects rental revenue to decline in 2017
28         compared to 2016 by approximately 32% based on lower average rental

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 1        revenue per patient and a focus on sales versus rentals.
 2              Inogen is maintaining its guidance range for full year 2017 net income
 3        of $25 to $27 million, which represents 21.8% to 31.6% year-over-year
 4        growth. Inogen continues to estimate that the effect of ASU No. 2016-09 will
 5        lead to a decrease in provision for income taxes of approximately $8.0 million
 6        in 2017 based on forecasted stock activity. However, this estimated decrease,
 7        which will continue to lower its effective tax rate, can vary depending on
 8        fluctuations due to timing, stock price changes and size of stock option
 9        exercises and stock transactions. Excluding the estimated $8.0 million
10        decrease in provision for income taxes associated with ASU No. 2016-09
11        expected in 2017, the Company expects an effective tax rate of approximately
12        36% to 37%.
13                                    *      *      *
14              Inogen is also providing a guidance range for full year 2018 total
15        revenue of $295 to $305 million, representing 19.9% to 24.0% growth over
16        the 2017 guidance mid-point of $246 million. The Company expects direct-
17        to-consumer sales to be its fastest growing channel, domestic business-to-
18        business sales to have a solid growth rate, and international business-to-
19        business sales to have a modest growth rate, where the strategy will continue
20        to be heavily focused on the European markets. Inogen expects rental revenue
21        to be relatively flat in 2018 compared to 2017 with reimbursement rates stable
22        and a continued focus on sales versus rentals.
23              Defendant Wilkinson commented in the press release, crediting the "record
24 revenue quarter" to the growing market for POCs and Inogen's salesforce. In particular,
25 defendant Wilkinson stated:
26              The third quarter of 2017 was a record revenue quarter for us, driven
27        by increased sales in our domestic business-to-business and direct-to-
28        consumer channels. … We are executing on our strategic initiatives and

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 1        remain focused on increasing adoption of our best-in-class oxygen product
 2        offerings across all of our channels. We believe we should see strong results
 3        in 2018 as portable oxygen concentrators continue to be adopted worldwide.
 4 The Improper Statements in the November 7, 2017 Earnings Conference Call
 5               Also on November 7, 2017, Inogen hosted an earnings conference call with
 6 investors and analysts to discuss the Company's third quarter of 2017 financial results. In
 7 his prepared remarks, defendant Wilkinson attributed the Company's ongoing sales growth
 8 to the sales acumen of its salesforce. In particular, he stated:
 9               We continued to steadily invest in direct-to-consumer sales force
10        additions in the United States. We also worked to optimize our new customer
11        relationship management, or CRM system, and I'm pleased that we have
12        delivered such strong sales and solid bottom line results during the third
13        quarter while we were still investing in training and productivity
14        improvements in the system.
15               Defendant Wilkinson also stated that Inogen's "strategy is to hire additional
16 sales employees in the fourth quarter of 2017 and throughout 2018 and invest in marketing
17 activities to increase consumer awareness as we believe this is still our most effective
18 means to drive growth of direct-to-consumer sales."
19               During her prepared remarks, defendant Bauerlein emphasized the Company's
20 expected revenue growth in 2018. She stated that Inogen was "continuing to invest in our
21 new Cleveland area facility, European facility and our CRM system while also continuing
22 to ramp our direct-to-consumer sales reps and the related media investments, which we
23 expect will contribute to 2018 revenue growth." Defendant Bauerlein also highlighted the
24 Company's focus on sales rather than rentals. In particular, she stated:
25               We expect direct-to-consumer sales to be our fastest-growing channel,
26        domestic business-to-business sales to have a significant growth rate and
27        international business-to-business sales to have a modest growth rate where
28        the strategy will still be focused on the European market. We expect rental

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 1         revenue to be relatively flat, meaning plus or minus 5%, in 2018 compared to
 2         2017 due to our continued focus on sales versus rental.
 3               Defendant Bauerlein continued to highlight Inogen's strengths in the direct-
 4 to-consumer segment, boasting that "our reps have become more productive, and that's in
 5 spite of the headwinds that we saw on the CRM implementation." She further explained:
 6               We've been able to continue to add to our Cleveland site as well. And
 7         while you know that those sales reps take 4 to 6 months to come up to
 8         productivity, we are starting to see the contributions from the people we have
 9         hired in the first half of the year, and we expect the people that we hired in the
10         second half of the year to really contribute more materially going into 2018.
11         And that's really why we still expect in 2018 direct-to-consumer sales to be
12         the fastest-growing channel in our business because we are continuing to
13         invest there. And that's why we really expect that to continue to be the key
14         driver to our sales growth.
15               During the question and answer section, one analyst inquired about the
16 productivity of the Company's sales representatives, the number of sales force hires, and
17 their contribution to "the top line." Defendant Bauerlein confirmed that Inogen would ramp
18 up its new sales hires quickly and that the new representatives would quickly contribute.
19 In particular, she stated:
20               Now on the rep side, they still take about 4 to 6 months to come up to
21         productivity, but they start contributing in the first couple of months. So they
22         certainly start making some sales and then ramp to that full productivity in
23         months 4 through 6. So it's a relatively quick turn from when a rep is hired to
24         when they start producing.
25               During the conference call, the defendants also expressed confidence that
26 Inogen's business-to-business sales would experience rapid growth, driven by purchases
27 from traditional HME providers and private label demand. In particular, defendant
28 Wilkinson stated:

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 1              We are very pleased with our domestic business-to-business sales in the
 2        third quarter of 2017, which increased 41.7% over the third quarter of 2016,
 3        exceeding our expectations.
 4              Growth in this channel was primarily driven by purchases from
 5        traditional home medical equipment providers and strong private label
 6        demand.    Revenue from our private label partner and traditional HME
 7        providers combined represented more than half of the domestic business-to-
 8        business channel's total sales revenue in the third quarter of 2017.
 9              Defendant Wilkinson also highlighted the market opportunity for sales of
10 Inogen's POCs, stating:
11              [W]e estimate that the share of portable oxygen concentrators in
12        Medicare oxygen therapy grew from 8.0% in 2015 to 9.1% in 2016.
13              However, this estimate does not include patient cash sales or private
14        insurance transactions. Our direct-to-consumer cash sales in 2016 grew
15        significantly faster than rentals. So we believe that this data from CMS may
16        represent a conservative estimate of actual portable oxygen concentrator
17        market penetration.
18              That said, POCs were still the fastest-growing modality in oxygen
19        therapy based on the CMS data and still have a significant growth opportunity
20        before reaching full market saturation.
21              The slides Inogen published in connection with its third quarter of 2017
22 financial results contained the Company's improper TAM and TAM growth figures. One
23 slide represented that the U.S. Market for POCs experienced "7-10% growth per year" and
24 would grow from three million patients in 2015, to four million patients in 2019. On the
25 same slide, the defendants also stated the market was actually much larger than these
26 estimates, providing that "an estimated 50% of COPD patients are currently undiagnosed."
27
28

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 1 The Improper Statements in the November 7, 2017 Form 10-Q
 2               Also on November 7, 2017, Inogen filed its Quarterly Report on Form 10-Q
 3 for the period ended September 30, 2017 (the "Q3 2017 Form 10-Q") with the SEC.
 4 Defendants Wilkinson and Bauerlein signed the Q3 2017 Form 10-Q. In the Q3 2017 Form
 5 10-Q, Inogen touted the strength of its sales growth and the size of its TAM. In particular,
 6 Inogen stated:
 7               The Company estimates based on 2016 Medicare data that patients
 8        using portable oxygen concentrators represent approximately 9.1% of the total
 9        addressable oxygen market in the United States, although the Medicare data
10        does not account for private insurance and cash-pay sales into the market.
11                                          *     *      *
12               Since adopting the Company's direct-to-consumer strategy in 2009
13        following its acquisition of Comfort Life Medical Supply, LLC, which had an
14        active Medicare billing number but few other assets and limited business
15        activities, the Company has directly sold or rented more than 327,000 of its
16        Inogen oxygen concentrators as of September 30, 2017.
17 The Improper Statements During the January 9, 2018 JPMorgan Healthcare
18 Conference
19               On January 9, 2018, the defendants presented on behalf of Inogen at the
20 JPMorgan Healthcare Conference. During the conference, defendant Bauerlein touted
21 Inogen's success in selling POCs directly to patients who paid cash out-of-pocket, and
22 exaggerated the size and nature of the market for these sales despite the existence of the
23 Medicare reimbursement. In particular, she stated:
24               Sales have been growing very nicely on the direct-to-consumer side,
25        over 40% in the third quarter. And now, this is really people who are buying
26        retail out-of-pocket, showing the true demand for POCs, in the fact that
27        patients really have an interest in getting a POC instead of the tank-based
28        systems that they already have.

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 1              Defendant Bauerlein asserted that, by Inogen's hiring of talented sales
 2 representatives, Inogen would ensure that it could continue its extraordinary direct-to-
 3 consumer growth. In particular, she stated:
 4              [W]e really did want to invest in the sales team because that's our #1
 5        limiter to growth and we were able to execute that. Majority of those sales
 6        rep additions were in the Cleveland facility, so that started in September and
 7        through the end of the year. So these people are still in the very early stages
 8        of coming up the curve of productivity. They take about 4 to 6 months to
 9        come up to productivity. And this is the main driver of why we expect, in
10        2018, to have $300 million in sales at the midpoint of guidance. Because we
11        expect direct-to-consumer sales to be the fastest-growing segment because of
12        the investments that we've made in the inside sales team in 2017. And we
13        expect to continue to expand that team going into 2018. And that Cleveland
14        area facility, over the next 3 years, we expect to add 240 employees, a mix of
15        sales and service employees.
16              During the conference, the defendants also conveyed a heightened optimism
17 in the business-to-business segment due to the spillover effects from their direct-to-
18 consumer sales and marketing teams. Defendant Wilkinson stated:
19              As I noted, while our primary go-to-market strategy is to focus on
20        patients, the Medicare competitive bidding cuts have put pressure on the
21        providers, such that delivering tanks is simply unsustainable. They've looked
22        at Inogen as the leader in the space to help them transition their model from a
23        delivery model to a nondelivery one. We're the company that has 10 years'
24        experience employing a nondelivery model ourselves. So we've proven that
25        the model works, we've proven it with our products. So our value to that
26        provider channel is not only in the best product on the market, with a strong
27        reliability but also in our know-how and how to administer the nondelivery
28        model. You see there we've had great growth results through our direct-to-

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 1        consumer strategy, but we've also had incredible growth through the business-
 2        to-business channel in the United States. So we've reaped the benefits on both
 3        side through our direct-to-consumer approach.
 4 The Improper Statements in the February 27, 2018 Press Release
 5               On February 27, 2018, Inogen issued a press release announcing its fourth
 6 quarter and fiscal year 2017 financial results for the period ended December 31, 2017. In
 7 the press release, the Company announced revenue growth in the quarter, strong demand,
 8 and sales growth. In particular, the press release stated:
 9        Fourth Quarter 2017 Financial Results
10               Total revenue for the three months ended December 31, 2017 rose
11        25.4% to $63.8 million from $50.9 million in the same period in 2016. Direct-
12        to-consumer sales rose 57.5% over the same period in 2016, ahead of our
13        expectations and primarily due to an increase in the number of sales
14        representatives,   marketing     expenditures,    and    sales    representative
15        productivity. Domestic business-to-business sales also exceeded our
16        expectations and grew 46.1% over the same period in 2016, primarily driven
17        by continued strong demand from our private label partner and traditional
18        home medical equipment providers. International business-to-business sales
19        in the fourth quarter of 2017 declined 0.8% from the comparative period in
20        2016, primarily due to no major European tenders being awarded to our
21        provider partners in the fourth quarter of 2017. Additionally, the fourth quarter
22        of 2016 included sizeable unit orders from South Korea that did not repeat in
23        the fourth quarter of 2017, creating a difficult comparable. Sales in Europe
24        represented 84.3% of international sales in the fourth quarter of 2017, up from
25        83.3% in the fourth quarter of 2016. Rental revenue in the fourth quarter of
26        2017 was $5.4 million compared to $8.2 million in the fourth quarter of 2016,
27        representing a decline of 34.1% from the same period in the prior year,
28        primarily due to the $2.0 million rental benefit recorded in the fourth quarter

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 1         of 2016 associated with the 21st Century Cures Act (Cures Act), which
 2         increased   reimbursement        rates    retrospectively   for   some   Medicare
 3         beneficiaries, and our continued focus on direct-to-consumer sales versus
 4         rentals. Rental revenue declined to 8.5% of total revenue in the fourth quarter
 5         of 2017 from 16.2% of total revenue in the fourth quarter of 2016.
 6               The Company also increased its financial guidance for fiscal year 2018. In
 7 particular, the press release stated:
 8         Financial Outlook for 2018
 9               Inogen is increasing its full year 2018 total revenue guidance range to
10         $298 to $308 million, up from $295 to $305 million, representing growth of
11         19.5% to 23.5% versus 2017 full year results. The Company expects direct-
12         to-consumer sales to be its fastest growing channel, domestic business-to-
13         business sales to have a solid growth rate, and international business-to-
14         business sales to have a modest growth rate, where the strategy will continue
15         to be heavily focused on the European markets. Inogen expects rental revenue
16         to be relatively flat in 2018 compared to 2017 as the Company continues to
17         focus on sales versus rentals.
18               Further, the Company is also increasing its full year 2018 GAAP net
19         income and non-GAAP net income guidance range to $36 to $39 million, up
20         from $31 to $35 million, representing growth of 71.4% to 85.7% compared to
21         2017 GAAP net income of $21.0 million and growth of 26.0% to 36.5%
22         compared to 2017 non-GAAP net income of $28.6 million. The Company
23         estimates that the decrease in provision for income taxes related to excess tax
24         benefits recognized from stock-based compensation will lead to a decrease in
25         provision for income taxes of approximately $8.0 million in 2018 based on
26         forecasted stock activity, which would lower its effective tax rate as compared
27         to the U.S. statutory rate. Excluding the $8.0 million decrease in provision
28         for income taxes expected in 2018, the Company expects an effective tax rate

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 1         of approximately 25%, down from its previous estimate of 37% due to the
 2         TCJA. The Company expects its effective tax rate including stock
 3         compensation deductions to vary quarter-to-quarter depending on the amount
 4         of pre-tax net income and on the timing and size of stock option exercises.
 5               Defendant Wilkinson also commented in the press release, touting the
 6 Company's "successful [fourth] quarter" as being "driven by record sales in our domestic
 7 direct-to-consumer channel and strong sales in our domestic business-to-business
 8 channel." As a further signal of the supposed strength of Inogen's sales and marketing
 9 strategy, defendant Wilkinson told investors that in the fourth quarter of 2017, "we
10 continued hiring in our Cleveland facility primarily to expand our direct-to-consumer sales
11 team."
12 The Improper Statements in the February 27, 2018 Earnings Conference Call
13               On February 27, 2018, the Company hosted an earnings conference call with
14 investors and analysts to discuss its fourth quarter and fiscal year 2017 financial results.
15 During the conference call, defendant Wilkinson again emphasized that Inogen's record
16 sales growth would continue simply by increasing the number of sales representatives hired
17 in the new Cleveland facility and increasing "consumer awareness." In particular, he
18 stated:
19               Our record direct-to-consumer sales of $24.5 million in the fourth
20         quarter of 2017 exceeded our expectations, as we steadily added new inside
21         sales representatives, with most located in our new Cleveland facility. Our
22         direct-to-consumer sales team consisted of 263 inside sales reps as of
23         December 31, 2017, which represented an increase of 86 reps over our 2016
24         year-end total of 177.
25               Our strategy is to steadily hire additional sales representatives
26         throughout 2018 and continue to invest in marketing activities to increase
27         consumer awareness as we believe this is still our most effective means to
28         drive growth of direct-to-consumer sales.

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 1                Defendant Bauerlein also attributed the sales growth to additional sales
 2 representatives and their sales acumen, stating that "[d]irect-to-consumer sales for the
 3 fourth quarter of 2017 were a record $24.5 million, representing 57.5% growth over the
 4 fourth quarter of 2016, primarily due to increased sales representative headcount, increased
 5 marketing expenditures and increased productivity."
 6                During the question and answer session of the conference call, one JPMorgan
 7 Chase & Co. analyst asked "about what the historical correlation has been from adding new
 8 sales reps and how that translates into sales growth going forward and what that might
 9 mean in terms of growth rates in '18 in the [direct-to-consumer] channel." In response,
10 defendant Bauerlein confirmed the correlation with the additional sales representatives and
11 an increase in sales. In particular, she stated:
12                So it has closely correlated with, over time, the sales growth in that
13         direct-to-consumer sales channel. So we would expect that as we've added
14         this additional sales capacity outside of that first 4- to 6- month investment
15         that you have for new hires, that you will see that growth on the direct-to-
16         consumer side associated with us increasing that sales capacity. Because as
17         you know, our limit to growth in creating additional consumer awareness is
18         really tied to how much sales capacity we have. So as we add that additional
19         sales capacity, we spend more in marketing to drive more leads to fill that
20         sales capacity. And that's our plan going forward as well. And we do plan to
21         continue to add reps going into 2018 as well as we still think we're a long way
22         from full saturation on the direct-to-consumer sales side of the business.
23                When asked about his 10% to 12% market penetration figures, defendant
24 Wilkinson expressed his confidence that the process of adding sales representatives and
25 marketing spend would be effective in increasing Inogen's direct-to-consumer sales, given
26 that it is "relatively easy to sell somebody a unit if they have the money, because it's hard
27 to put a price on freedom." He also stated that the "opportunity today is still using our sales
28 team to convert oxygen patients, so that's what we're focused on."

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 1               Defendant Wilkinson also highlighted the simplicity of the Company's sales
 2 strategy, stating:
 3               [W]e don't assign territories to the inside reps. We've got leads coming
 4        in every day from all over the USA, and they are distributed more or less
 5        evenly across the sales force. So the way we manage the sales team is every
 6        rep is going to get x number of new leads every month. By not assigning
 7        territories, it's made it really easy for us to scale, because if you think about
 8        it, if we did have more territories, then you've got to rebalance and recut your
 9        sales territories really almost every month the way we've scaled the sales team.
10 The Improper Statements in the 2017 Form 10-K
11               On February 27, 2018, Inogen filed its Annual Report on Form 10-K for the
12 fiscal year ended December 31, 2017 (the "2017 Form 10-K") with the SEC. The 2017
13 Form 10-K was signed by defendants Wilkinson, Bauerlein, Lukatch, Anderson-Ray,
14 Rider, McFarland, Greer, Beardsley, and Huggenberger. In its 2017 Form 10-K, Inogen
15 touted the TAM for its POCs, which the Company essentially claimed lacked any threat of
16 market competition. In particular, the 2017 Form 10-K stated:
17               Portable oxygen concentrators represented the fastest-growing segment
18        of the Medicare oxygen therapy market between 2012 and 2016. We estimate
19        based on 2016 Medicare data that the total number of patients using portable
20        oxygen concentrators represents approximately 9.1% of the total addressable
21        oxygen market in the United States, although the Medicare data does not
22        account for private insurance and cash-pay patients in the market.
23                                           *     *      *
24        Our market
25               We believe the current total addressable oxygen therapy market in the
26        United States is approximately $3 billion to $4 billion, based on 2016
27        Medicare data and our estimate of the ratio of the Medicare market to the total
28        market. As of 2016, we estimate that there are 4.5 million patients worldwide

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 1         who use oxygen therapy, including 2.5 to 3 million patients in the United
 2         States, and more than 60% of oxygen therapy patients in the United States are
 3         covered by Medicare. The number of oxygen therapy patients in the United
 4         States is projected to grow by approximately 7% to 10% per year between
 5         2017 and 2021, which we believe is the result of earlier diagnosis of chronic
 6         respiratory conditions, demographic trends and longer durations of long-term
 7         oxygen therapy.
 8                                            *     *      *
 9                Despite the ability of portable oxygen concentrators to address many of
10         the shortcomings of traditional oxygen therapy, we estimate based on 2016
11         Medicare data that the total number of patients on portable oxygen
12         concentrators represents approximately 9.1% of the total addressable oxygen
13         market in the United States, although the Medicare data does not account for
14         private insurance and cash-pay patients in the market.
15 The Improper Statements in the April 30, 2018 Press Release
16                On April 30, 2018, Inogen issued a press release announcing its first quarter
17 of 2018 financial results for the period ended March 31, 2018, in which the Company
18 reported "[r]ecord total revenue of $79.1 million, up 50.6% over the same period in 2017."
19 In particular, the press release stated:
20         First Quarter 2018 Highlights
21            Record total revenue of $79.1 million, up 50.6% over the same period in
22             2017
23                   Record sales revenue of $73.6 million, up 60.1% over the same
24                    period in 2017
25                   Rental revenue of $5.5 million, down 16.3% from the same period
26                    in 2017
27            GAAP net income of $10.8 million, reflecting an 81.4% increase over the
28             same period in 2017 and a 13.6% return on revenue

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 1           Adjusted EBITDA of $15.5 million, representing 42.7% growth over the
 2            same period in 2017 and a 19.6% return on revenue (see accompanying
 3            table for reconciliation of GAAP and non-GAAP measures)
 4           Total units sold were 45,400, an increase of 19,800, or 77.3%, over the
 5            same period in 2017
 6               In addition, the Company once again increased its fiscal year 2018 financial
 7 guidance based on its expectation of an increase in the sales growth rate. In particular, the
 8 press release stated:
 9        Financial Outlook for 2018
10               Inogen is increasing its full year 2018 total revenue guidance range to
11        $310 to $320 million, up from $298 to $308 million, representing growth of
12        24.3% to 28.3% versus 2017 full year results. The Company continues to
13        expect direct-to-consumer sales to be its fastest growing channel, domestic
14        business-to-business sales to have a solid growth rate, and international
15        business-to-business sales to have a modest growth rate, where the 2018
16        strategy will continue to be heavily focused on the European markets. Inogen
17        now expects rental revenue to be down approximately 10% in 2018 compared
18        to 2017 as the Company continues to focus on sales versus rentals.
19               Further, the Company is also increasing its full year 2018 GAAP net
20        income and non-GAAP net income guidance range to $38 to $41 million, up
21        from $36 to $39 million, representing growth of 80.9% to 95.2% compared to
22        2017 GAAP net income of $21.0 million and growth of 33.0% to 43.5%
23        compared to 2017 non-GAAP net income of $28.6 million. The Company still
24        estimates that the decrease in provision for income taxes related to excess tax
25        benefits recognized from stock-based compensation will lead to a decrease in
26        provision for income taxes of approximately $8.0 million in 2018 based on
27        forecasted stock activity, which would lower its effective tax rate as compared
28        to the U.S. statutory rate. Excluding the estimated $8.0 million decrease in

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 1        provision for income taxes expected in 2018, the Company expects a non-
 2        GAAP effective tax rate of approximately 25%. The Company expects its
 3        effective tax rate including stock-based compensation deductions to vary
 4        quarter-to-quarter depending on the amount of pre-tax net income and on the
 5        timing and size of stock option exercises.
 6               Inogen is also increasing its guidance range for full year 2018 Adjusted
 7        EBITDA to $62 to $67 million, up from $60 to $64 million, representing
 8        22.0% to 31.8% growth compared to 2017 results.
 9               Inogen also expects net positive cash flow for 2018 with no additional
10        equity capital required to meet its current operating plan.
11               The press release further touted the Company's strong sales results and
12 outlook, stating:
13               The Company continues to expect direct-to-consumer sales to be its
14        fastest growing channel, [and] domestic business-to-business sales to have a
15        solid growth rate.
16               Defendant Wilkinson also commented in the press release, crediting the
17 increase in Inogen's fiscal year 2018 guidance to the "strong" and "growing" market for
18 POCs and the sales acumen of its direct-to-consumer and domestic business-to-business
19 salesforce. In particular, defendant Wilkinson stated:
20               In what is historically a seasonally slower quarter, we were able to
21        generate record revenues driven by strong sales in both our domestic direct-
22        to-consumer and domestic business-to-business channels. … We are
23        executing on our strategic initiatives and remain focused on increasing
24        adoption of our best-in-class oxygen product offerings across all of our sales
25        channels. We are currently ahead of schedule to meet our plan of hiring 240
26        Cleveland-based employees by 2020. We believe we should see strong sales
27        growth in 2018 as portable oxygen concentrator penetration increases
28        worldwide.

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 1 The Improper Statements in the April 30, 2018 Earnings Conference Call
 2               Also on April 30, 2018, the Company held an earnings conference call with
 3 analysts and investors to discuss its first quarter of 2018 results. During the call, defendant
 4 Wilkinson again emphasized Inogen's purportedly strong direct-to-consumer and business-
 5 to-business sales growth. In particular, he stated:
 6               Our record direct-to-consumer sales of $28.7 million in the first quarter
 7         of 2018 exceeded our expectations, primarily due to increased sales
 8         representative headcount and associated consumer spending. We're currently
 9         ahead of schedule to meet our plan of hiring 240 Cleveland-based employees
10         by 2020, with the majority of those being sales reps. Given our recent success,
11         our strategy is to steadily hire additional sales representatives throughout 2018
12         and continue to invest in marketing activities to increase consumer awareness
13         as we believe that it's still our most effective means to drive growth of the
14         direct-to-consumer sales.
15               In fact, we expect to release a new TV commercial to showcase the
16         benefits of our portable oxygen concentrators in the second quarter. Further,
17         we initiated a direct-to-consumer pricing trial in the second quarter of 2018 to
18         ensure our products are optimally priced. We expect to provide an update on
19         this trial on our next earnings call.
20               First quarter of 2018 domestic business-to-business sales of $28 million
21         was a record for us and exceeded our expectations, primarily due to continued
22         success with our private label partner and traditional home medical equipment
23         providers.
24                                         *       *   *
25               Looking ahead, I'm very proud of our Inogen associates and the
26         progress made in what has historically been a seasonally slower quarter.
27         While we've been engaged in multiple initiatives to fuel future growth, we've
28         accelerated current growth, especially in the domestic direct-to-consumer and

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 1        business-to-business sales channels. I'm very pleased with the increased
 2        adoption in these markets with our best-in-class and patient-preferred
 3        products.
 4               Defendant Wilkinson also touted the quality of the sales representatives
 5 Inogen hired in Cleveland, stating:
 6               Now on the direct-to-consumer side, the results are driven by our
 7        increased hiring. I mentioned that the hiring in Cleveland is going, I'll say, not
 8        according to plan, but ahead of plan. We found that it's a great market. We're
 9        very pleased with the talent that we're finding there. So it has allowed us to
10        hire. If you were to compare our 3-year plan, we're ahead of that plan, if you
11        look at it on a linear basis. And we hired pretty heavily at the end of last year.
12        Those people are now contributing. As you go into the first quarter, you've
13        got -- the very first people we hired actually are seasoned reps or at the end of
14        curve. The people hired at the very end of the year are still relatively new in
15        the first quarter, but they climbed that curve. So primarily, the results are
16        based on our hiring increase. There's some productivity improvement in there.
17        But if you looked at the contribution of productivity versus headcount and
18        sales capacity, sales capacity is the bigger driver.
19               Defendant Bauerlein further commented on the Company's sales prospects,
20 stating that "[w]e expect direct-to-consumer sales to be our fastest-growing channel" and
21 "domestic business-to-business sales to have a significant growth rate."
22               During the question and answer section of the conference call, one analyst
23 inquired about the "very quick[]" growth of business-to-business and the "long-term mix
24 of business between [business-to-business] and direct-to-consumer."              In response,
25 defendant Bauerlein reiterated the Company's misleading sales growth and TAM
26 penetration figures to assure investors that the mix between the two channels was irrelevant
27 to Inogen's financial prospects. In particular, defendant Bauerlein stated:
28

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 1              Yes. So when you look at that, while certainly [business-to-business]
 2        has a lower gross margin profile, it also has much lower operating expenses
 3        associated with it. So when we look at the market opportunity, we look to
 4        capture share both on the B2B side and the direct-to-consumer side because
 5        we're relatively agnostic on the bottom line. What we have been doing,
 6        though, is continuing to invest in the B2C side because we're still very early
 7        in the market penetration curve. As Scott said earlier, 9% or so penetration in
 8        the last data as of the end of 2016, we still have a long -- we have a long ramp
 9        to go to continue to take share both on the direct-to-consumer side as well as
10        the business-to-business side away from the tank-based business model. So
11        our focus really is to make sure that we maintain a market leadership position
12        and that we continue to grow the market both on direct-to-consumer side and
13        the B2B side and not to drive a specific mix in our business. Now inherent in
14        guidance in 2018 is that direct-to-consumer sales would be the fastest-
15        growing channel. So that would actually be a tailwind to gross margin
16        expansion over the course of the year.
17 The Improper Statements in the April 30, 2018 Form 10-Q
18              On April 30, 2018, Inogen filed its Quarterly Report on Form 10-Q for the
19 period ended March 31, 2018 (the "Q1 2018 Form 10-Q") with the SEC. Defendants
20 Wilkinson and Bauerlein signed the Q1 2018 Form 10-Q. The Q1 2018 Form 10-Q
21 expressly incorporated by reference the description of the Company's business detailed
22 above in the Company's 2017 Form 10-K, and further specifically reiterated the following
23 concerning the TAM of its POCs:
24              Portable oxygen concentrators represented the fastest-growing segment
25        of the Medicare oxygen therapy market between 2012 and 2016. The
26        Company estimates based on 2016 Medicare data that the number of patients
27        using portable oxygen concentrators represents approximately 9.1% of the
28        total addressable oxygen market in the United States, although the Medicare

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 1         data does not account for private insurance and cash-pay patients in the
 2         market.
 3 The Improper Statements in the August 7, 2018 Press Release
 4               On August 7, 2018, Inogen issued a press release announcing its second
 5 quarter of 2018 financial results for the period ended June 30, 2018. In the press release,
 6 the Company announced "[r]ecord" second quarter revenues and increased sales growth.
 7 In particular, the press release stated:
 8         Second Quarter 2018 Highlights
 9          Record total revenue of $97.2 million, up 51.6% over the same period in
10            2017
11                     Record sales revenue of $92.0 million, up 58.5% over the same
12                      period in 2017
13                     Rental revenue of $5.3 million, down 13.7% from the same
14                      period in 2017
15          Increase in planned hiring in Cleveland by year-end 2020 to 500
16            employees, approximately two-thirds of which are expected to be sales
17            representatives, up from the original target of 240 employees
18          GAAP net income of $14.6 million, reflecting a 75.2% increase over the
19            same period in 2017 and a 15.0% return on revenue
20          Adjusted EBITDA of $19.0 million, representing 32.2% growth over the
21            same period in 2017 and a 19.5% return on revenue (see accompanying
22            table for reconciliation of GAAP and non-GAAP measures)
23          Total units sold were 54,700, an increase of 22,300, or 68.8%, over the
24            same period in 2017
25               The Company also increased its fiscal year 2018 guidance based on its
26 expectation of an increase in the sales growth rate. In particular, the press release stated:
27
28

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 1      Financial Outlook for 2018
 2            Inogen is increasing its full year 2018 total revenue guidance range to
 3      $340 to $350 million, up from $310 to $320 million, representing growth of
 4      36.3% to 40.3% versus 2017 full year results. The Company continues to
 5      expect direct-to-consumer sales to be its fastest growing channel, domestic
 6      business-to-business sales to have a significant growth rate, and international
 7      business-to-business sales to have a solid growth rate, where the 2018 strategy
 8      will continue to be heavily focused on the European markets. Inogen still
 9      expects rental revenue to be down approximately 10% in 2018 compared to
10      2017 as the Company continues to focus on sales.
11            Further, the Company is also increasing its full year 2018 GAAP net
12      income and non-GAAP net income guidance range to $45 to $48 million, up
13      from $38 to $41 million, representing growth of 114.3% to 128.5% compared
14      to 2017 GAAP net income of $21.0 million and growth of 57.5% to 67.9%
15      compared to 2017 non-GAAP net income of $28.6 million. The Company
16      estimates that the decrease in provision for income taxes related to excess tax
17      benefits recognized from stock-based compensation will lead to a reduction
18      in provision for income taxes of approximately $12 million in 2018, up from
19      $8 million, based on forecasted stock activity, which would lower its effective
20      tax rate as compared to the U.S. statutory rate. The Company expects its
21      effective tax rate including stock-based compensation deductions to vary
22      quarter-to-quarter depending on the amount of pre-tax net income, share price,
23      and on the timing and size of stock option exercises. Excluding the estimated
24      $12 million decrease in provision for income taxes expected in 2018, the
25      Company still expects a non-GAAP effective tax rate of approximately 25%.
26            Inogen is also increasing its guidance range for full year 2018 Adjusted
27      EBITDA to $65 to $69 million, up from $62 to $67 million, representing
28      27.9% to 35.7% growth compared to 2017 results.

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 1               Inogen also still expects net positive cash flow for 2018 with no
 2         additional capital required to meet its current operating plan.
 3               As support for the increased guidance, defendant Wilkinson again credited the
 4 strong sales acumen of its salesforce. In particular, he stated:
 5               The second quarter of 2018 was a notably strong quarter for us as we
 6         generated record revenue across all three sales channels, while also reporting
 7         record operating income. … We are continuing to execute on our strategy to
 8         hire additional sales representatives and invest in advertising activities to
 9         increase consumer awareness as we believe this is still our most effective
10         means to drive high revenue growth and portable oxygen concentrator
11         adoption.
12 The Improper Statements in the August 7, 2018 Earnings Conference Call
13               Also on August 7, 2018, the Company's executives held an earnings
14 conference call with analysts and investors to discuss its second quarter of 2018 results.
15 During the call, defendant Wilkinson continued to tout that Inogen's strong and growing
16 direct-to-consumer sales were the result of the sales acumen of its growing salesforce. In
17 particular, he stated:
18               Given our recent success, our strategy is to continue to hire additional
19         sales representatives and invest in advertising activities to increase consumer
20         awareness, as we believe this is still our most effective means to drive growth
21         of direct-to-consumer sales.
22               In fact, we now expect to have 500 Cleveland-based employees by
23         year-end 2020, which is up from our original target of 240 employees. We
24         expect at least 2/3 of these employees to be sales representatives.
25                                           *     *      *
26               Looking ahead, I'm very proud of our Inogen associates and the
27         progress made thus far in 2018. While we've been engaged in multiple
28         initiatives to fuel future growth, we've accelerated our current growth,

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 1         especially in the domestic direct-to-consumer and business-to-business sales
 2         channels. I'm very pleased with the increased adoption in these markets with
 3         our best-in-class and patient preferred products.
 4               Defendant Bauerlein confirmed that "[w]e still expect direct-to-consumer
 5 sales to be our fastest-growing channel, domestic business-to-business sales to have a
 6 significant growth rate and international business-to-business sales to have a solid growth
 7 rate, where the strategy will still be focused on the European market."
 8               During the question and answer session of the call, one analyst asked about
 9 the ramp-up of Inogen's sales facility. In response, defendant Wilkinson stated, "[w]e are
10 running a little bit ahead of our plan or schedule. That's why we are increasing our own
11 expectations as well as communication that over the 3-year period that we forecasted over
12 that we would expect to have 500 people; about 2/3 of them would be sales personnel
13 versus the original 240 people."
14               Defendant Wilkinson trumpeted the purported quality of the sales
15 representatives Inogen hired for its Cleveland facility, telling participants on the call that
16 "[s]o far, I think we've done a great job. We're very pleased with the quality of personnel
17 that we've been able to attract."
18               Defendant     Bauerlein   also     attributed the strong    direct-to-consumer
19 performance to the Company's increase of competent sales representatives. In particular,
20 she stated:
21               We have seen improved productivity across the facilities that have the
22         seasoned reps, the California and Texas facilities, so that productivity is
23         increasing, but of course, Cleveland is heavily influenced by the number of
24         new reps in that facility. So really, the increase is primarily associated with
25         just the increased capacity and not a productivity improvement, particularly if
26         you're just looking at a base of the total number of employees and how their
27         productivity has changed year-over-year.
28

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 1              In response to a question about "the sustainability of business-to-business,"
 2 defendant Wilkinson reassured investors that POCs "will be the standard of care" over the
 3 next decade. In particular, the exchange went as follows:
 4              [Analyst]: I was hoping you could talk about the sustainability of
 5        business-to-business. This is one that can be lumpy, but it does look like it's
 6        really moving in the direction of full adoption here. So I think what people
 7        would really like to better understand is, what inning are we in, in terms of
 8        adoption from the larger players, the middle sized and the smaller players?
 9        And how sustainable is it in the near term? And what could be [rallied] here
10        in your opinion?
11              [Defendant Wilkinson]: Yes. It's -- I just mentioned in the previous
12        question that I think in the what inning we're in, second inning, maybe third
13        inning, but certainly, we're in the first third of the game, if you will.
14              As far as sustainability, I think that, that's a time horizon type of
15        question, because over that 7 to 10 years, I mean, we absolutely believe POCs
16        will be the standard of care and the end game is, there will be a conversion.
17 The Improper Statements in the August 7, 2018 Form 10-Q
18              Also on August 7, 2018, Inogen filed its Quarterly Report on Form 10-Q for
19 the period ended June 30, 2018 (the "Q2 2018 Form 10-Q") with the SEC. Defendants
20 Wilkinson and Bauerlein signed the Q2 2018 Form 10-Q. In the Q2 2018 Form 10-Q, the
21 Company expressly incorporated by reference the description of the Company's business
22 detailed in the 2017 Form 10-K, specifically mentioning the TAM for POCs in the United
23 States. In particular, the Q2 2018 Form 10-Q stated:
24              Portable oxygen concentrators represented the fastest-growing segment
25        of the Medicare oxygen therapy market between 2012 and 2016. The
26        Company estimates based on 2016 Medicare data that the number of patients
27        using portable oxygen concentrators represents approximately 9.1% of the
28        total addressable oxygen market in the United States, although the Medicare

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 1         data does not account for private insurance and cash-pay patients in the
 2         market.
 3 The Improper Statements During the September 12, 2018 Morgan Stanley
   Healthcare Conference
 4
 5               On September 12, 2018, the Company's executives presented at the Morgan
 6 Stanley Healthcare Conference on behalf of Inogen. During the conference, one Morgan
 7 Stanley analyst asked, "So one of the things that kind of – one of the pushes you made is
 8 to drive a direct-to-consumer sales strategy and move away from the rental market. Now
 9 what's the thought process there? How that's beneficial?" Defendant Wilkinson explained
10 the reasoning behind Inogen's focus on direct-to-consumer cash sales, stating:
11               Now as Jay said, over the last several years, we've shifted our focus
12         from a rental business more to a retail business. This really cuts out a lot of
13         the red tape of the Medicare program. It also – when you look at the
14         reimbursement cuts that have been absorbed by Medicare, the retail sale is
15         more compelling compared to rentals than they once were when the
16         reimbursement was much higher. So we've shifted our intake criteria and
17         focus. You have many patients that, when they call in, they've got a life-
18         changing event where they're going to a wedding or the birth of a grandchild.
19         And so sometimes to go through the red tape of Medicare can be a
20         cumbersome and lengthy process. So there is a big retail opportunity, life-
21         changing products. People, we've proven, will definitely spend their own
22         money to gain back their freedom and independence that they once had before
23         their own oxygen. So because of those dynamics, we've kind of shifted away
24         from rental. Although, we still have rentals in our business, it's still on our
25         P&L, but our primary focus has been on the retail side over the last several
26         years. That's what's really driven the growth of our business.
27               Defendant Bauerlein then went on to explain the basis for Inogen's confidence
28 that its Cleveland facility was hiring high-quality sales representatives:

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 1               So as you said, we've substantially increased what we think we're going
 2        to do in the Cleveland facility, both in terms of sales reps as well as support
 3        personnel. And we started – we actually opened the facility about a year ago,
 4        last August. So we've had now about 12 months experience of hiring and
 5        training people in that facility. And we've seen a great quality of reps and a
 6        great response to us wanting to enter the market and offer jobs there and that
 7        really is what's allowed us to say that we think we've been able to hire there
 8        and those people have come up the curve and produced what we wanted and
 9        obviously, you see that in our results. And so because of that, we think that
10        because the market penetration is still so small, it's important to capitalize on
11        these market opportunities, particularly in the direct-to-consumer space. So
12        because of that, we're looking to expand that sales force more. And we put a
13        target out there that is based on our comfort level that we think that, that's an
14        achievable goal by year-end 2020.
15 The Improper Statements in the November 6, 2018 Press Release
16               On November 6, 2018, Inogen issued a press release announcing its third
17 quarter of 2018 financial results for the period ended September 30, 2018. In the press
18 release, the Company highlighted "[t]otal revenue of $95.3 million, up 38.0% over the
19 same period in 2017." In particular, the press release stated:
20        Third Quarter 2018 Financial Results
21               Total revenue for the three months ended September 30, 2018 rose
22        38.0% to $95.3 million from $69.0 million in the same period in 2017. Direct-
23        to-consumer sales rose 66.3% over the same period in 2017, primarily due to
24        increased sales representative headcount and additional consumer advertising.
25        Domestic business-to-business sales grew 32.0% over the same period in
26        2017, primarily driven by continued adoption by traditional home medical
27        equipment providers and internet resellers. International business-to-business
28        sales in the third quarter of 2018 increased 23.0% over the comparative period

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 1        in 2017, primarily due to continued adoption from the Company's European
 2        partners. Rental revenue in the third quarter of 2018 was $5.6 million
 3        compared to $5.9 million in the third quarter of 2017, representing a decline
 4        of 5.3% from the same period in the prior year. The decrease in rental revenue
 5        was primarily due to a decline in net rental patients on service of 13.0%
 6        compared to the third quarter of 2017, partially offset by higher revenue per
 7        patient on service. Rental revenue accounted for 5.9% of total revenue in the
 8        third quarter of 2018, down from 8.5% of total revenue in the third quarter of
 9        2017.
10                Total gross margin was 51.2% in the third quarter of 2018 versus 48.1%
11        in the comparative period in 2017. The increase in total gross margin was
12        primarily due to a favorable mix shift towards direct-to-consumer sales
13        revenue. Sales gross margin was 52.3% in the third quarter of 2018 versus
14        50.3% in the third quarter of 2017. The sales gross margin increase was
15        primarily due a favorable mix shift of direct-to-consumer sales versus
16        business-to-business sales, and lower average cost of goods sold per unit. This
17        was partially offset by lower average selling prices in both business-to-
18        business channels due to increased volumes and lower direct-to-consumer
19        pricing effective June 1, 2018. Rental gross margin was 34.3% in the third
20        quarter of 2018 versus 24.3% in the third quarter of 2017. The increase in
21        rental gross margin was primarily due to increased rental revenue per patient
22        and lower depreciation expense.
23                Defendant Wilkinson commented in the press release, stating that "[t]he third
24 quarter of 2018 was another successful quarter for us as we generated strong revenue across
25 all three sales channels." He added, "We are continuing to execute on our strategy to hire
26 additional sales representatives and invest in advertising activities to increase consumer
27 awareness as we believe this is still our most effective means to drive high revenue growth
28 and portable oxygen concentrator adoption."

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 1               The Company also increased its full year 2018 total revenue guidance range
 2 to "$345 to $355 million, up from $340 to $350 million, representing growth of 38.3% to
 3 42.3% versus 2017 full year results." The Company narrowed its "full year 2018 GAAP
 4 net income ... guidance range to $46 to $48 million, from $45 to $48 million, representing
 5 growth of 119.0% to 128.5% compared to 2017 GAAP net income."
 6               Inogen, however, also reduced its "guidance range for full year 2018 Adjusted
 7 EBITDA to $60 to $62 million, down from $65 to $69 million, representing growth of
 8 18.0% to 22.0% versus 2017 full year results due to continued sales and marketing
 9 investments expected in the fourth quarter of 2018." In the press release, the Company
10 revealed that although direct-to-consumer growth rose to 66.3%, Inogen's domestic
11 business-to-business sales growth was slowing and would see a significant deceleration to
12 32% growth from 56% in the second quarter of 2018.
13 The Improper Statements in the November 6, 2018 Earnings Conference Call
14               Also on November 6, 2018, the Company's executives hosted an earnings
15 conference call with investors and analysts to discuss its third quarter of 2018 results.
16 During the call, defendant Wilkinson reiterated Inogen's direct-to-consumer sales growth
17 resulting from the sales acumen of its salesforce. In particular, he stated:
18               Given our recent success, our strategy is to continue to hire additional
19         sales representatives and invest in advertising activities to increase consumer
20         awareness, as we believe this is still our most effective means to drive growth
21         of direct-to-consumer sales.
22                                           *     *      *
23               Looking ahead to 2019, we expect to remain a high-growth company
24         and to continue to invest heavily in our sales force, advertising efforts, and
25         operations, in order to drive portable oxygen concentrator adoption
26         worldwide.
27               Emphasizing the strategy to focus Inogen's efforts on out-of-pocket cash sales
28 to patients, to the near exclusion of the rental market, defendant Wilkinson noted that the

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 1 Company's "direct-to-consumer cash sales in 2017 grew significantly, while our direct
 2 rental patients on service declined."        As for Inogen's hiring of additional sales
 3 representatives, one analyst asked, "it still seems like the direct sales expense is growing
 4 at a pretty healthy level. So I assume that means more sales reps. Why is that right or
 5 wrong?" In response, defendant Bauerlein stated:
 6               Yes. So as we said on the last quarter call, we are ahead of our
 7         expectations on the hiring side. Cleveland has been a great market for us to
 8         expand our sales base, and we are expanding that sales base and continued to
 9         do that in the third quarter. And really, we do that because we know that there
10         is a known return on those types of investments, and we are still early in the
11         stages of POC penetration.
12               Another analyst asked the defendants about the market saturation of patients,
13 specifically "into that pool of patients willing to buy out-of-pocket ... [a]nd are you seeing
14 any kind of signs of saturation of this pool of patients that are at least willing to buy out-
15 of-pocket?" In response, defendant Wilkinson reaffirmed that in addition to the Medicare
16 data, other metrics the Company monitors supported the defendants' claims that there is no
17 market saturation. In particular, defendant Wilkinson stated:
18               Yes. I mean, we do monitor all of those metrics. And I mean, obviously,
19         we're confident when we're making these investments that we're not at a point
20         where you're at saturation. And certainly, the Medicare numbers bear that out.
21         Our other metrics bear that out. Otherwise, we wouldn't make such an
22         investment.
23               When another analyst asked about Inogen's plans for adding sales
24 representatives for the direct-to-consumer business, defendant Bauerlein responded that
25 "we still are cautious there of trying to, again, make sure we don't get out ahead of how
26 many people we can hire and effectively train. So that's built into our models is looking at
27 how many we can hire? How many will leave? What is the ramp-up curve? All of that is
28 factored into that guidance."

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 1               Defendant Bauerlein sought to temper the Company's lowered income
 2 guidance by attributing it to the increased sales and marketing investment to support the
 3 new sales representatives in the Cleveland facility, which she assured investors would bear
 4 fruit in the future. In particular, defendant Bauerlein stated:
 5               So the level of investment, clearly, was higher than we had thought on
 6         the second quarter call, because of the ramp that we've seen on the sales reps
 7         and the number of people we have in the facility, and then the related media
 8         spend. So that has come in ahead of what we expected on the second quarter
 9         call, which of course, leads to higher expenses in the near term. But we think
10         that that's the right decision. So while we did lower adjusted EBITDA, it's
11         really for those sales and marketing expenses. So we expect those sales and
12         marketing expenses to also be higher in the fourth quarter, and they also were
13         higher in the third quarter as well. So those 2 items combined really account
14         for the changes that we're seeing in adjusted EBITDA.
15               Concerning the Company's fiscal year 2018 financial guidance, defendant
16 Bauerlein stated that the Company still expected direct-to-consumer sales to be its "fastest-
17 growing channel," adding that domestic business-to-business sales would still have a
18 "significant growth rate" and that international business-to-business sales would have a
19 "solid growth rate."
20               Defendant Bauerlein also represented that the guidance reduction should not
21 be a major concern because traditionally fourth quarter sales slowed in prior years. In
22 particular, she stated:
23               So when we look at the Q4 expectation, obviously, it does assume a
24         deceleration there of the growth rate. Now remember, Q4, also last year, was
25         strong for us on the direct-to-consumer side, against the typical seasonality
26         where we see, typically, the stronger months are actually Q2 and then
27         followed by Q3. So the comps get tougher on the direct-to-consumer side
28

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 1         going into Q4 because of that. So I want to make sure people understand that.
 2         Obviously, as we've continued to hire, that also helps offset that.
 3                In the slides Inogen released with its financial results, the Company continued
 4 to report that the TAM grew at a rate of 7% to 10% annually, and increased its estimate to
 5 four million Americans on long-term oxygen therapy by the year 2020 from its current
 6 estimate of three million Americans. To justify Inogen's long-term oxygen therapy
 7 estimate, the slides referenced the defendants' estimate of approximately thirty million
 8 Americans living with COPD. These numbers, however, were inflated given that the
 9 defendants' had doubled the CDC's estimate by using an outdated 1988-1994 CDC study,
10 which merely found that 50% of COPD patients did not know they had COPD at the time
11 of diagnosis. The slides also boasted that Inogen had "[h]igh standards of compliance and
12 regulations," with respect to its license "to sell directly to patients & bill Medicare in [all]
13 50 states & [the] District of Columbia."
14 The Improper Statements in the November 6, 2018 Form 10-Q
15                On November 6, 2018, Inogen filed its Quarterly Report on Form 10-Q for
16 the period ended September 30, 2018 (the "Q3 2018 Form 10-Q") with the SEC.
17 Defendants Wilkinson and Bauerlein signed the Q3 2018 Form 10-Q. In the Q3 2018 Form
18 10-Q, the Company expressly incorporated by reference the description of the Company's
19 business detailed in the 2017 Form 10-K, and increased the Company's POC adoption
20 figures purportedly based on 2017 Medicare data. In particular, the Q3 2018 Form 10-Q
21 stated:
22                Portable oxygen concentrators represented the fastest-growing segment
23         of the Medicare oxygen therapy market between 2012 and 2017. The
24         Company estimates based on 2017 Medicare data that the number of patients
25         using portable oxygen concentrators represents approximately 10.8% of the
26         total addressable oxygen market in the United States, although the Medicare
27         data does not account for private insurance and cash-pay patients in the
28         market.

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   The Improper Statements During the January 9, 2019 JPMorgan Global
 1 Healthcare Conference
 2               On January 9, 2019, the defendants participated in the JPMorgan Global
 3 Healthcare Conference. During the conference, defendant Wilkinson proclaimed that
 4 TAM estimates from other companies were inaccurate because "we've seen some people
 5 actually make some errors in market assessment because they don't fully understand the
 6 data." Defendant Wilkinson also described the penetration of POCs into the long-term
 7 oxygen therapy market as in its infancy, stating:
 8               Now in the U.S., the penetration of POCs, it's still really in its infant
 9        stages despite the compelling benefits for a patient, giving them freedom and
10        mobility as well as the low total cost service. The penetration in 2017, and
11        that's the latest Medicare data available, is 2017, was about 11%. And you can
12        kind of see at the bottom of the screen how that's progressed over the last
13        several years. From '14 through '17, we've gone 7%, 8%, 9%, 11%. So POCs
14        are actually the fastest-growing modality within oxygen therapy. But the
15        market is still largely underpenetrated.
16               Our estimate is that over time, that POCs or portable oxygen
17        concentrators will replace the tanks. And essentially, we've said, "90% of the
18        patients that are ambulatory would be given a POC. If you assume that,
19        believe that assumption, then it's 90% of the 73% ambulatory patients which
20        means that at the end of the day, full penetration would be 65%." So again,
21        we're a long way from the end of curve that's why we're bullish on continued
22        investment in expanding our sales force.
23               In the Company's slides used during the presentation, the Company referenced
24 its estimate of approximately thirty million Americans living with COPD. These numbers,
25 however, were inflated given that the defendants' had doubled the CDC's estimate by using
26 an outdated 1988-1994 CDC study, which merely found that 50% of COPD patients did
27 not know they had COPD at the time of diagnosis. Defendants further represented that
28 within fifteen years, the WHO projected COPD would become the leading cause of death

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 1 in the world.
 2     THE INDIVIDUAL DEFENDANTS NEGLIGENTLY MADE MISLEADING
      STATEMENTS IN THE COMPANY'S 2018 AND 2019 PROXY STATEMENTS
 3
 4                 Plaintiff's allegations with respect to the misleading statements in the 2018
 5 and 2019 Proxy Statements are based solely on negligence; they are not based on any
 6 allegation of reckless or knowing conduct by or on behalf of these defendants, and they do
 7 not allege and do not sound in fraud. Plaintiff specifically disclaims any allegations of,
 8 reliance upon any allegation of, or reference to any allegation of fraud, scienter, or
 9 recklessness with regard to these allegations and related claims.
10                 On March 27, 2018, the Company issued its 2018 Proxy Statement filed on
11 Form DEF 14A with the SEC (the "2018 Proxy") for the 2018 Annual Meeting of
12 Stockholders, which was held on May 10, 2018. In the 2018 Proxy, defendants Anderson-
13 Ray, Beardsley, Greer, Huggenberger, Lukatch, McFarland, Rider, and Wilkinson solicited
14 stockholder votes to, among other things, to reelect defendants Beardsley, Greer, and Rider
15 to the Board.
16                 On March 26, 2019, the Company issued its 2019 Proxy Statement filed on
17 Form DEF 14A with the SEC (the "2019 Proxy") for the 2019 Annual Meeting of
18 Stockholders, which was held on May 9, 2019. In the 2019 Proxy, defendants Anderson-
19 Ray, Beardsley, Greer, Huggenberger, Lukatch, McFarland, Rider, and Wilkinson solicited
20 stockholder votes to, among other things, to reelect defendants Anderson-Ray, McFarland,
21 and Wilkinson to the Board.
22                 In support of defendants Anderson-Ray, Beardsley, Greer, Huggenberger,
23 Lukatch, McFarland, Rider, and Wilkinson's bid to reelect defendants Anderson-Ray,
24 Beardsley, Greer, McFarland, Rider, and Wilkinson to the Board, these defendants
25 highlighted their purported Corporate Governance Principles and Code. In particular, both
26 the 2018 Proxy and 2019 Proxy (collectively, the "Proxies") stated:
27
28

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 1        Corporate Governance Principles and Code of Ethics and Conduct
 2               Our Board has adopted Corporate Governance Principles. These
 3        principles address items such as the qualifications and responsibilities of our
 4        directors and director candidates and corporate governance policies and
 5        standards applicable to us in general. In addition, our Board has adopted a
 6        Code of Ethics and Conduct that applies to all of our employees, officers and
 7        directors, including our Chief Executive Officer, Chief Financial Officer, and
 8        other executive and senior financial officers.
 9                In addition, the Proxies each assured stockholders that the Board and its
10 committees regularly assess and manage the risks that Inogen faces, including legal and
11 regulatory risks, and risks associated with internal controls over financial reporting and
12 disclosure controls and procedures. In particular, the Proxies stated:
13        Risk Management
14               Risk is inherent with every business, and we face a number of risks,
15        including strategic, financial, business and operational, legal and compliance,
16        and reputational. We have designed and implemented processes to manage
17        risk in our operations. Management is responsible for the day-to-day
18        management of risks the Company faces, while our Board, as a whole and
19        assisted by its committees, has responsibility for the oversight of risk
20        management. In its risk oversight role, our Board has the responsibility to
21        satisfy itself that the risk management processes designed and implemented
22        by management are appropriate and functioning as designed.
23               Our Board believes that open communication between management
24        and our Board is essential for effective risk management and oversight. Our
25        Board meets with our Chief Executive Officer and other members of the
26        senior management team at quarterly meetings of our Board as well as at such
27        other times as they deem appropriate, where, among other topics, they discuss
28        strategy and risks facing the Company.

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 1                While our Board is ultimately responsible for risk oversight, our Board
 2         committees assist our Board in fulfilling its oversight responsibilities in
 3         certain areas of risk. Our Audit Committee assists our Board in fulfilling its
 4         oversight responsibilities with respect to risk management in the areas of
 5         internal control over financial reporting and disclosure controls and
 6         procedures, legal and regulatory compliance, and discusses with management
 7         and the independent auditor guidelines and policies with respect to risk
 8         assessment and risk management. Our Audit Committee also reviews our
 9         major financial risk exposures and the steps management has taken to monitor
10         and control these exposures. In addition, our Audit Committee monitors
11         certain key risks on a regular basis throughout the fiscal year, such as risk
12         associated with internal control over financial reporting and liquidity
13         risk. Our Compensation, Nominating and Governance Committee assists our
14         Board in fulfilling its oversight responsibilities with respect to the
15         management of risk associated with Board organization, membership and
16         structure, and corporate governance. Our Compensation, Nominating and
17         Governance Committee also oversees risks related to our compensation
18         policies to ensure that our compensation programs do not encourage
19         unnecessary risk-taking. Finally, our full Board reviews strategic and
20         operational risk in the context of reports from the management team, receives
21         reports on all significant committee activities at each regular meeting, and
22         evaluates the risks inherent in significant transactions.
23                The Proxies thus assured stockholders that the Board abided by Inogen's
24 Corporate Governance Principles and Code, and actively monitored the Company's risks
25 and internal controls. In reality, the Board utterly failed in its oversight duties by allowing
26 the Company to engage in abusive sales practices, operate with inadequate internal
27 controls, and issue materially misleading statements to the investing public.
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 1              The Proxies harmed Inogen by interfering with the proper governance on its
 2 behalf that follows the free and informed exercise of stockholders' right to vote for
 3 directors. As a result of the misleading statements therein, the Company's stockholders
 4 voted via an uninformed stockholder vote to reelect defendants Anderson-Ray, Beardsley,
 5 Greer, McFarland, Rider, and Wilkinson.
 6                          THE TRUTH BEGINS TO EMERGE
 7              The truth behind the Company's business prospects and Individual
 8 Defendants' wrongdoing began to emerge on February 8, 2019, when Muddy Waters
 9 published a report revealing Inogen's "egregiously false narrative" about the size of its
10 TAM. Specifically, the report disputed Inogen's previously reported 2.5 to 3 million TAM,
11 and instead disclosed that Inogen's TAM was only 1.3 million. In particular, the report
12 stated:
13              Muddy Waters is short Inogen, Inc. (INGN) because we believe
14        management has created an egregiously false narrative about the Total
15        Addressable Market ("TAM") size and growth. We estimate that the U.S.
16        market is 1.3 million users. The data shows us that the market is actually
17        shrinking.
18                                         *     *      *
19              The INGN management estimates are actually the work of an obscure
20        research firm called WinterGreen Research, Inc. We reviewed the 2017
21        WinterGreen report, and frankly feel it is middle school student quality,
22        replete with misspellings, poor grammar, bizarre statements of fact, and even
23        outright plagiarism from the New York Times. INGN management should
24        know better than to take WinterGreen's work as authoritative.
25                                         *     *      *
26              We calculate the real U.S. TAM is presently approximately only 1.3
27        million users, which is 57% lower than management's claim. Our estimate is
28        derived from Centers for Medicare & Medicaid Services ("CMS") data. CMS

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 1         data also shows the oxygen therapy market has been shrinking. We estimate
 2         that from 2010 to 2017, the market shrank at a CAGR of -2.6%. This is a far
 3         cry from the estimates of 7% - 10% positive growth the company has been
 4         making since November 2013. In our view, management has created a false
 5         narrative by presenting poorly-sourced estimates along with misrepresenting
 6         data from credible sources.
 7               According to the Muddy Waters report, the means of arriving at the TAM and
 8 growth projections touted by Inogen involved "three layers of numerical manipulation," by
 9 selectively ignoring sources of data, cherry-picking Medicare statistics, and ignoring the
10 interaction between Inogen's own two sales channels.           Specifically, the Company's
11 projections failed to account for the portion of ambulatory oxygen patients who are not
12 candidates for POCs, and also the three-year Medicare cap on oxygen devices. These
13 factors led Muddy Waters to expect, contrary to the Company's projected 7% to 10%
14 annual growth, that Inogen sales would "peak no later than next year."
15               Shortly thereafter, on February 12, 2019, Citron published a bearish report on
16 Inogen revealing the Company's abusive sales practices titled "Citron Exposes Elder Abuse
17 Within Inogen's Sales Tactics."       Citron cited Inogen's "dirty" reseller network and
18 systematic abuse of elders by the Company and resellers through deceptive sales practices,
19 adding that less than 10% of its sales came from Medicare despite the average age of its
20 customers being seventy-five and over. According to the Citron report, Inogen had
21 conspired with its reseller network to dominate Google listings and posted fake reviews
22 online. Inogen also used tactics to deceive and pressure the elderly into buying its POCs
23 by, among other things, falsely telling them that Medicare would not cover the cost of
24 POCs sold by other companies in order to induce them to purchase Inogen's devices at
25 inflated prices.
26               In addition, the Citron report revealed that the Company's top reseller, 1st
27 Class Medical, "is secretly controlled by a convicted felon who was recently released after
28 5 years in federal prison for deceptive internet marketing practices," similar practices that

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 1 Inogen and its reseller network engaged in, according to the report. The Citron report then
 2 detailed how increased sales through these reseller networks had artificially increased
 3 Inogen's business-to-business sales, increases that Citron noted would not be sustainable
 4 on a long-term basis.
 5                  The Citron report also stated that "Inogen's [direct-to-consumer] business is
 6 running out of air," due in large part on its failure to invest in research and development
 7 and instead focus its efforts on sales. In particular, the Citron report stated:
 8                  [Direct-to-consumer] is Inogen's highest margin channel, which is why
 9         the sales force has been trained to upsell Medicare patients to cash pay.
10                  While competitors have invested in R&D (e.g., ResMed's recent
11         investment in remote patient monitoring), Inogen has invested in its sales
12         force.
13                  Undaunted by the bearish news, the defendants continued to make improper
14 statements concerning the Company's market growth and sales practices. Specifically,
15 during the Company's February 26, 2019 earnings conference call with analysts and
16 investors to discuss its fourth quarter and fiscal year 2018 financial results, defendant
17 Wilkinson took the opportunity to dispute the findings uncovered by Muddy Waters and
18 Citron. In particular, defendant Wilkinson stated:
19                  [R]educed reimbursement rates as a result of competitive bidding,
20         enhanced Medicare coverage and billing requirements and other factors have
21         created access issues and caused the cash pay market, which is not reflected
22         in the Medicare data, to grow substantially for both new and existing patients.
23                  Additionally, the industry is going through a major conversion from
24         tank deliveries to POCs. We believe that the combination of these factors
25         should lead to growth rates for POCs above the overall long-term oxygen
26         therapy market growth rate over the next 5-plus years.
27                  Lastly, we are an accredited home care provider, licensed to provide
28         respiratory products in all 50 states, heavily regulated by Medicare and the

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 1        FDA and subject to frequent audits to maintain these accreditations and
 2        licenses and we take compliance with the law seriously.
 3               Specifically, we have compliance requirements in place for our
 4        authorized Internet resellers. And without commenting on any specific
 5        Internet resellers, we expect that our Internet resellers abide by all applicable
 6        laws and regulations. We believe this is common practice in our industry, as
 7        our Internet resellers also sell most competitive POCs in the market today as
 8        well as other home care products.
 9               During the same call, defendant Wilkinson touted the Company's direct-to-
10 consumer sales force and marketing team, describing them as a "fantastic asset."
11               That same day, Inogen filed its 2018 Annual Report on Form 10-K for the
12 fiscal year ended December 31, 2018 (the "2018 Form 10-K") with the SEC The 2018
13 Form 10-K was signed by defendants Wilkinson, Bauerlein, Lukatch, Anderson-Ray,
14 Rider, McFarland, Greer, Beardsley, and Huggenberger. The 2018 Form 10-K decreased
15 the Company's previous expected rate of oxygen therapy patient growth from 7% to 10%
16 to the "low single digits." In particular, the 2018 Form 10-K stated:
17               While there is no up-to-date single source of long-term oxygen therapy
18        market data, based on market data from various industry sources and our own
19        internal data, we believe that growth in the number of oxygen therapy patients
20        in the United States was low single digits in 2017, and we now expect that
21        trend to continue for the next few years.
22               On this news, Inogen's stock price plummeted $33.78 per share, or 24.12%,
23 to close at $106.28 per share on February 27, 2019, from the previous trading day's closing
24 price of $140.06 per share, a market capitalization loss of over $736 million in one day.
25               On February 28, 2019, Medtech Insight published an article titled "Inogen's
26 Stock Collapses After Earnings Call Addressing Short-Seller Concerns." The article noted
27 that Inogen's stock price "plummeted after its most recent earnings call where the
28 company's CEO seemed to acknowledge it did not trust its own research firm that gave it

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 1 a glowing market report and prospective analysis." The Medtech Insight article also quoted
 2 the Muddy Waters report, attributing the decline in share price "to the evasiveness of TAM
 3 size, their assessment of recent low single digit growth, and downshifting the long-term
 4 growth language to five years from 7-10."
 5               Finally, on May 7, 2019, Inogen issued a press release announcing its first
 6 quarter of 2019 financial results for the period ended March 31, 2019.            Defendant
 7 Wilkinson commented in the press release, disclosing that despite Inogen's intentional shift
 8 away from the Medicare rental reimbursement market, the shift was actually a major
 9 headwind in generating future revenue. Even worse, business-to-business sales continued
10 to decrease. In particular, defendant Wilkinson stated:
11               The first quarter of 2019 was a tough quarter for us given the decline in
12         domestic business-to-business sales and the increased direct-to-consumer
13         sales and marketing expenditures. … We believe there is still a large
14         opportunity for portable oxygen concentrator adoption worldwide; however,
15         there are patient access issues given the current reimbursement environment
16         and the restructuring challenges that some providers are facing in converting
17         their oxygen business to a non-delivery model. As a result, we are focused on
18         multiple initiatives to drive sales and marketing efficiencies and build a more
19         predictable revenue stream over time.
20               The press release announced a further reduction of the Company's 2019 total
21 revenue guidance, revealing that the POC market was not as strong as the defendants
22 previously described. In particular, the press release stated:
23               Inogen is reducing its full year 2019 total revenue guidance to $405 to
24         $415 million, down from $430 to $440 million, representing growth of 13.1%
25         to 15.9% versus 2018 full year results. While the Company still expects direct-
26         to-consumer sales to be its fastest growing channel, it plans to slow the pace
27         of hiring in 2019 and place more emphasis on sales representative
28         productivity. Inogen still expects international business-to-business sales to

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 1        have a solid growth rate, but now expects domestic business-to-business sales
 2        to have a slightly negative growth rate. Given the difficult growth
 3        comparisons Inogen faces in the domestic business-to-business channel, the
 4        restructuring challenges of some providers, and its rental plan, it expects
 5        negative growth in the domestic business-to-business channel in the second
 6        quarter of 2019 compared to the second quarter of 2018, with modest growth
 7        in the back half of 2019 compared to the back half of 2018.
 8               Also on May 7, 2019, Inogen held an earnings conference call with investors
 9 and analysts to discuss the dismal first quarter of 2019 financial results. During the call,
10 defendant Wilkinson disclosed that the new sales representatives were not as effective as
11 earlier hires, and alerted investors to additional issues in both the direct-to-consumer and
12 business-to-business markets. In particular, he stated:
13               Looking at the first quarter of 2019, we generated total revenue of $90.2
14        million, reflecting growth of 14.1% over the first quarter of 2018.
15               Direct-to-consumer sales of $39 million in the first quarter of 2019
16        increased 35.9% over the first quarter of 2018 primarily due to increased sales
17        representative headcount and associated consumer advertising. However, the
18        sales reps we hired in the second half of 2018, on average, took longer to
19        come up the productivity curve than our historical target and were not at
20        their full potential in the first quarter.
21               Moving forward, we plan to slow down the addition of new sales
22        representative hires and focus on improving the productivity of our sales team.
23        Over the last 2 quarters, we have also applied with it a separate rental team
24        that will focus exclusively on new rental additions to drive overall sales
25        productivity. And we plan to roll this out across our entire group in the coming
26        quarters.
27               As we've continued to grow our sales staff and the associated number
28        of required leads has grown, we have seen the cost per generated lead trend

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 1        higher than historical averages. We believe we will see increased productivity
 2        of our sales reps throughout 2019, which should reduce our overall cost per
 3        sale despite expected increased marketing spend.
 4               First quarter 2019 domestic business-to-business sales of $26.1 million
 5        decreased 7% from the first quarter of 2018 primarily due to a decline in sales
 6        to our private label partner. These sales declines were a partner due to one
 7        large national home care provider who significantly reduced orders in the first
 8        quarter of 2019 as compared to the same period in 2018.
 9               Specifically, this provider who we discussed in our last earnings call
10        accounted for revenue of $700,000 in the first quarter of 2019, down from
11        $9.3 million in the first quarter of 2018.
12               During the conference call, the defendants retreated from their previous
13 misleading assurances that Inogen could achieve its growth by focusing on sales within the
14 direct-to-consumer and business-to-business markets by announcing that they had created
15 a separate rental team. Defendant Wilkinson informed investors that "[w]e do plan to
16 slightly change our rental intake criteria to accept more new rental patient additions to
17 increase access to patients who otherwise could not obtain a POC from their current home
18 care provider."
19               In contrast to the defendants' earlier praise of Inogen's Cleveland salesforce,
20 defendant Wilkinson confirmed that the sales representatives hired in the third quarter of
21 2018 were underperforming and also blamed the productivity issues on insufficient support
22 from the Cleveland management and seasoned representatives. In particular, defendant
23 Wilkinson stated:
24               Let me back up to probably the first half of '18 is kind of a benchmark.
25        We started to hire at a heavier rate than historical in the first half of the year.
26        And things, I'll say, that even exceeded our expectations. As we continued and
27        actually cranked up hiring to an even higher rate as we went into the third
28        quarter, that's where things didn't meet our expectations. And as I said in my

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 1         prepared remarks, when we look at productivity of reps, they no longer were
 2         matching what we have seen from a historical productivity standpoint. We got
 3         a little bit ahead of ourselves on management. I think we mentioned that in
 4         the previous call that we had to shore up our management but we found that
 5         we still need to invest in further training on management so that there are even
 6         better resource for the new reps that we have. If you look at most of the
 7         incremental hiring is in our Cleveland facility. That's where we have space.
 8         So that's why most of the hiring is there. But the folks are not surrounded by
 9         5-year veteran reps there. It's a relatively new facility. So we need to make an
10         even bigger investment into training and support of those new reps to drive
11         that productivity.
12                On this news, Inogen's stock price dropped $23.35 per share, or 25.62%, to
13 close at $67.79 per share on May 8, 2019, from the previous trading day's closing price of
14 $91.14 per share, a market capitalization loss of over $512 million in one day.
15                      REASONS THE STATEMENTS WERE IMPROPER
16                The statements referenced above were each improper when made because
17 they failed to disclose and misrepresented the following material, adverse facts, which the
18 Individual Defendants knew, consciously disregarded, or were reckless in not knowing
19 that:
20                (a)     the Company overstated the true size of the TAM for its POCs, claiming
21 the TAM was upwards of three million people;
22                (b)     the Company misrepresented the basis for its calculation of the TAM;
23                (c)     the Company misrepresented the market penetration of POCs;
24                (d)     the Company falsely attributed its sales growth to the sales acumen of
25 its salesforce, when in truth the sales growth was due in large part to deceptive sales tactics
26 designed to deceive Inogen's elderly customer base;
27                (e)     as such, Inogen's domestic business-to-business sales growth to HME
28 providers was inflated and unsustainable;

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 1                In addition, since the Insider Selling Defendants utilized the Company's
 2 nonpublic information to sell their stock, they must disgorge any profits from these sales
 3 back to Inogen.
 4              DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
 5                Plaintiff brings this action derivatively in the right and for the benefit of
 6 Inogen to redress injuries suffered, and to be suffered, by Inogen as a direct result of
 7 violations of securities law, breaches of fiduciary duty, waste of corporate assets, and
 8 unjust enrichment, as well as the aiding and abetting thereof, by the Individual Defendants.
 9 Inogen is named as a nominal defendant solely in a derivative capacity. This is not a
10 collusive action to confer jurisdiction on this Court that it would not otherwise have.
11                Plaintiff will adequately and fairly represent the interests of Inogen in
12 enforcing and prosecuting its rights.
13                Plaintiff was a stockholder of Inogen at the time of the wrongdoing
14 complained of, has continuously been a stockholder since that time, and is a current Inogen
15 stockholder.
16                The current Board of Inogen consists of the following eight individuals:
17 defendants Anderson-Ray, Beardsley, Greer, Huggenberger, Lukatch, McFarland, Rider,
18 and Wilkinson. Plaintiff has not made any demand on the present Board to institute this
19 action because such a demand would be a futile, wasteful, and useless act, as set forth
20 below.
21 Demand Is Excused Because a Majority of the Board Faces a Substantial Likelihood
   of Liability for Their Misconduct
22
23                As   alleged   above,    defendants    Anderson-Ray,     Beardsley,    Greer,
24 Huggenberger, Lukatch, McFarland, Rider, and Wilkinson breached their fiduciary duties
25 of loyalty by authorizing improper sales tactics and making improper statements in the
26 Company's press releases, SEC filings, and oral communications regarding Inogen's
27 business practices, financials, financial prospects, and disclosure controls.         These
28 defendants had knowledge about the improper sales tactics and statements concerning sales

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 1 growth because POC sales are Inogen's core operating segment, generating approximately
 2 88% of the Company's revenue. Accordingly, the Director Defendants (the entire Board)
 3 face a substantial likelihood of liability for their breach of fiduciary duties, making any
 4 demand upon them futile.
 5               Defendants Huggenberger, Wilkinson, Rider, McFarland, Lukatch, and
 6 Anderson-Ray each sold Inogen stock under highly suspicious circumstances. As members
 7 of the Board, these defendants possessed material, nonpublic Company information and
 8 used that information to benefit themselves. These defendants sold stock based on this
 9 knowledge of material, nonpublic Company information regarding the Company's business
10 operations, financial prospects, and disclosure controls and the impending decrease in the
11 value of their holdings of Inogen. Accordingly, defendants Huggenberger, Wilkinson,
12 Rider, McFarland, Lukatch, and Anderson-Ray face a substantial likelihood of liability for
13 breach of their fiduciary duty of loyalty. Any demand upon these defendants is futile.
14               Defendants Anderson-Ray, Greer, and McFarland, as members of the Audit
15 Committee, reviewed and approved the improper statements and earnings guidance. The
16 Audit Committee's Charter provides that the Audit Committee is responsible for
17 compliance with accounting, legal, and regulatory requirements.          Thus, the Audit
18 Committee Defendants were responsible for knowingly or recklessly allowing the
19 improper statements related to the Company's earnings guidance and financial and
20 disclosure controls. Moreover, the Audit Committee Defendants reviewed and approved
21 the improper press releases made to the public. Despite their knowledge or reckless
22 disregard, the Audit Committee Defendants caused these improper statements.
23 Accordingly, the Audit Committee Defendants breached their fiduciary duty of loyalty and
24 good faith because they participated in the wrongdoing described herein. Thus, defendants
25 Anderson-Ray, Greer, and McFarland face a substantial likelihood of liability for their
26 breach of fiduciary duties so any demand upon them is futile.
27               The principal professional occupation of defendant Wilkinson is his
28 employment with Inogen, pursuant to which he has received and continues to receive

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 1 substantial monetary compensation and other benefits as alleged above (almost $2.7
 2 million in total compensation in 2018).        Accordingly, defendant Wilkinson lacks
 3 independence from the current Board due to his interest in maintaining his executive
 4 position at Inogen. This lack of independence renders defendant Wilkinson incapable of
 5 impartially considering a demand to commence and vigorously prosecute this action.
 6 Demand is futile as to defendant Wilkinson.
 7               Defendant Beardsley is a Managing Partner at Novo Ventures (US), a
 8 subsidiary of Novo Holdings A/S, a life science investment company. Novo Holdings A/S
 9 owns 16.19% of Inogen stock, more than any other company or individual. Defendant
10 Beardsley has made or stands to make a substantial amount of money from Novo Holdings
11 A/S's investment in Inogen, given the investment company's large stake in Inogen. Thus,
12 defendant Beardsley will not vote to initiate litigation against defendant Wilkinson,
13 Inogen's CEO, due to defendant Beardsley's company, Novo Ventures (US), making
14 hundreds of millions of dollars from its investment in Inogen.
15               Plaintiff has not made any demand on the other stockholders of Inogen to
16 institute this action since such demand would be a futile and useless act for at least the
17 following reasons:
18               (a)    Inogen is a publicly held company with over 21.9 million shares
19 outstanding and thousands of stockholders as of July 31, 2019;
20               (b)    making demand on such a number of stockholders would be impossible
21 for plaintiff who has no way of finding out the names, addresses, or phone numbers of
22 stockholders; and
23               (c)    making demand on all stockholders would force plaintiff to incur
24 excessive expenses, assuming all stockholders could be individually identified.
25                                         COUNT I
26   Against the Director Defendants for Violation of Section 14(a) of the Exchange Act
27               Plaintiff incorporates by reference and realleges each and every allegation
28 contained above, as though fully set forth herein.

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 1               The section 14(a) Exchange Act claims alleged herein are based solely on
 2 negligence. They are not based on any allegation of reckless or knowing conduct by or on
 3 behalf of the Director Defendants. The section 14(a) Exchange Act claims detailed herein
 4 do not allege and do not sound in fraud. Plaintiff specifically disclaims any allegation of,
 5 reliance upon any allegation of, or reference to any allegation of fraud, scienter, or
 6 recklessness with regard to the nonfraud claims.
 7               The Director Defendants negligently issued, caused to be issued, and
 8 participated in the issuance of materially misleading written statements to stockholders
 9 which were contained in the 2018 Proxy.              In the 2018 Proxy, the Board solicited
10 stockholder votes to reelect defendants Greer, Rider, and Beardsley to the Board.
11               The Director Defendants negligently issued, caused to be issued, and
12 participated in the issuance of materially misleading written statements to stockholders
13 which were contained in the 2019 Proxy.          In the 2019 Proxy, the Board solicited
14 stockholder votes to reelect defendants Anderson-Ray, McFarland, and Wilkinson to the
15 Board.
16               The Proxies, however, misrepresented and failed to disclose that: (i) the
17 Company exaggerated the scope of its TAM for its POCs; (ii) the Company inaccurately
18 reported the basis for its TAM determinations; (iii) the Company misattributed its sales
19 success to the skill of its salesforce, rather than its dishonest sales practices; (iv) the
20 Company reported unsustainable growth in business-to-business domestic sales to HME
21 suppliers, and failed to disclose that such growth harmed its direct-to-consumer sales
22 growth; (v) the Company overstated the proportion of its sales that were attributable to
23 Medicare's steadier market; and (vi) the Company failed to maintain internal controls. By
24 reasons of the conduct alleged herein, the Director Defendants violated section 14(a) of the
25 Exchange Act. As a direct and proximate result of the defendants' wrongful conduct,
26 Inogen misled and deceived its stockholders by making misleading statements that were
27 essential links in stockholders heeding the Company's recommendation to reelect
28 defendants Anderson-Ray, Beardsley, Greer, McFarland, Rider, and Wilkinson to the

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 1 Board.
 2               Plaintiff, on behalf of Inogen, thereby seeks relief for damages inflicted upon
 3 the Company based upon the misleading Proxies.
 4                                          COUNT II
 5             Against the Individual Defendants for Breach of Fiduciary Duty
 6               Plaintiff incorporates by reference and realleges each and every allegation
 7 contained above, as though fully set forth herein.
 8               The Individual Defendants owed and owe Inogen fiduciary obligations. By
 9 reason of their fiduciary relationships, the Individual Defendants owed and owe Inogen the
10 highest obligation of good faith, fair dealing, loyalty, and due care.
11               The Individual Defendants and each of them, violated and breached their
12 fiduciary duties of candor, good faith, and loyalty. More specifically, the Individual
13 Defendants violated their duty of good faith by creating a culture of lawlessness within
14 Inogen, and/or consciously failing to prevent the Company from engaging in the unlawful
15 acts complained of herein.
16               The Officer Defendants either knew, were reckless, or were grossly negligent
17 in disregarding the illegal activity of such substantial magnitude and duration. The Officer
18 Defendants either knew, were reckless, or were grossly negligent in not knowing that: (i)
19 the Company overstated the true size of the TAM for its POCs, claiming the TAM was
20 upwards of three million people; (ii) the Company misstated the basis for its calculation of
21 the TAM; (iii) the Company falsely attributed its sales growth to the sales acumen of its
22 salesforce, when in truth the growth was due in large part to deceptive sales tactics designed
23 to deceive Inogen's elderly customer base; (iv) as such, Inogen's reported growth in direct-
24 to-consumer sales and domestic business-to-business sales to HME providers was inflated
25 and unsustainable; (v) very little of Inogen's business came from the more stable Medicare
26 market; and (vi) as a result, Inogen's public statements concerning its business operations
27 and financial prospects were improper when made. Accordingly, the Officer Defendants
28 breached their duty of care and loyalty to the Company.

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 1               The Director Defendants, as directors of the Company, owed Inogen the
 2 highest duty of loyalty. These defendants breached their duty of loyalty by recklessly
 3 permitting the improper activity concerning Inogen's business and financial prospects. The
 4 Director Defendants knew or were reckless in not knowing that: (i) the Company overstated
 5 the true size of the TAM for its POCs, claiming the TAM was upwards of three million
 6 people; (ii) the Company misstated the basis for its calculation of the TAM; (iii) that the
 7 Company falsely attributed its sales growth to the sales acumen of its salesforce, when in
 8 truth the growth was due in large part to deceptive sales tactics designed to deceive Inogen's
 9 elderly customer base; (iv) as such, Inogen's reported growth in direct-to-consumer sales
10 and domestic business-to-business sales to HME providers was inflated and unsustainable;
11 (v) very little of Inogen's business came from the more stable Medicare market; and (vi) as
12 a result, Inogen's public statements concerning its business operations and financial
13 prospects were improper when made. Accordingly, these defendants breached their duty
14 of loyalty to the Company.
15               The Audit Committee Defendants breached their fiduciary duty of loyalty by
16 approving the statements described herein which were made during their tenure on the
17 Audit Committee, which they knew or were reckless in not knowing contained improper
18 statements and omissions. The Audit Committee Defendants failed in their duty of
19 oversight, and failed in their duty to appropriately review financial results, as required by
20 the Audit Committee Charter in effect at the time.
21               The Insider Selling Defendants breached their duty of loyalty by selling
22 Inogen stock on the basis of the knowledge of the improper information described above
23 before that information was revealed to the Company's stockholders. The information
24 described above was material, nonpublic information concerning the Company's future
25 business prospects. It was a proprietary asset belonging to the Company, which the Insider
26 Selling Defendants used for their own benefit when they sold Inogen common stock.
27
28

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 1               As a direct and proximate result of the Individual Defendants' breaches of
 2 their fiduciary obligations, Inogen has sustained significant damages, as alleged herein. As
 3 a result of the misconduct alleged herein, these defendants are liable to the Company.
 4               Plaintiff, on behalf of Inogen, has no adequate remedy at law.
 5                                          COUNT III
 6             Against the Individual Defendants for Waste of Corporate Assets
 7               Plaintiff incorporates by reference and realleges each and every allegation
 8 contained above, as though fully set forth herein.
 9               As a result of the Individual Defendants' failure to properly supervise and
10 monitor the adequacy of Inogen's disclosure controls and procedures, the Individual
11 Defendants have caused Inogen to waste its assets by paying improper compensation and
12 bonuses to certain of its executive officers and directors that breached their fiduciary duty.
13               As a result of the waste of corporate assets, the Individual Defendants are
14 liable to the Company.
15               Plaintiff, on behalf of Inogen, has no adequate remedy at law.
16                                          COUNT IV
17                 Against the Individual Defendants for Unjust Enrichment
18               Plaintiff incorporates by reference and realleges each and every allegation
19 contained above, as though fully set forth herein.
20               By their wrongful acts and omissions, the Individual Defendants were unjustly
21 enriched at the expense of and to the detriment of Inogen. The Individual Defendants were
22 unjustly enriched as a result of the compensation and director remuneration they received
23 while breaching fiduciary duties owed to Inogen.
24               The Insider Selling Defendants sold Inogen stock while in possession of
25 material, nonpublic information that artificially inflated the price of Inogen stock. As a
26 result, the Insider Selling Defendants profited from their misconduct and were unjustly
27 enriched through their exploitation of material and adverse inside information.
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 1               Plaintiff, as a stockholder and representative of Inogen, seeks restitution from
 2 these defendants, and each of them, and seeks an order of this Court disgorging all profits,
 3 benefits, and other compensation obtained by these defendants, and each of them, from
 4 their wrongful conduct and fiduciary breaches.
 5               Plaintiff, on behalf of Inogen, has no adequate remedy at law.
 6                                   PRAYER FOR RELIEF
 7         WHEREFORE, plaintiff, on behalf of Inogen, demands judgment as follows:
 8         A.    Against all of the defendants and in favor of the Company for the amount of
 9 damages sustained by the Company as a result of the defendants' violation of securities
10 law, breach of fiduciary duty, waste of corporate assets, and unjust enrichment;
11         B.    Directing Inogen to take all necessary actions to reform and improve its
12 corporate governance and internal procedures to comply with applicable laws and to
13 protect Inogen and its stockholders from a repeat of the damaging events described herein,
14 including, but not limited to, putting forward for stockholder vote, resolutions for
15 amendments to the Company's Bylaws or Articles of Incorporation and taking such other
16 action as may be necessary to place before stockholders for a vote of the following
17 corporate governance policies:
18               1.     a proposal to strengthen the Company's controls over financial
19 reporting;
20               2.     a proposal to control insider selling;
21               3.     a proposal to strengthen the Board's oversight of its sales and marketing
22 practices, including its oversight of its sales employees and reseller network;
23               4.     a proposal to strengthen the Board's supervision of operations and
24 develop and implement procedures for greater stockholder input into the policies and
25 guidelines of the Board; and
26               5.     a provision to permit the stockholders of Inogen to nominate at least
27 three candidates for election to the Board;
28

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 1             C.    Extraordinary equitable and/or injunctive relief as permitted by law, equity,
 2 and state statutory provisions sued hereunder, including attaching, impounding, imposing
 3 a constructive trust on, or otherwise restricting the proceeds of defendants' trading activities
 4 or their other assets so as to assure that plaintiff on behalf of Inogen has an effective
 5 remedy;
 6             D.    Awarding to Inogen restitution from defendants, and each of them, and
 7 ordering disgorgement of all profits, benefits, and other compensation obtained by the
 8 defendants, including all ill-gotten gains from insider selling by defendants;
 9             E.    Awarding to plaintiff the costs and disbursements of the action, including
10 reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and
11             F.    Granting such other and further relief as the Court deems just and proper.
12                                           JURY DEMAND
13             Plaintiff demands a trial by jury.
14
      Dated: October 9, 2019                            ROBBINS ARROYO LLP
15                                                      BRIAN J. ROBBINS
                                                        STEPHEN J. ODDO
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